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                   M. Jonathan Hayes (Bar No. 90388)
               1   Matthew D. Resnik (Bar No. 182562)
                   RESNIK HAYES MORADI LLP
               2   17609 Ventura Blvd., Suite 314
                   Encino, CA 91316
               3   Telephone: (818) 285-0100
                   Facsimile: (818) 855-7013
               4   jhayes@RHMFirm.com
                   matt@RHMFirm.com
               5
                   Attorneys for Professional
               6   Robert Hindin
               7
                                       UNITED STATES BANKRUPTCY COURT
               8
                                           CENTRAL DISTRICT OF CALIFORNIA
               9
                                                  SAN FERNANDO DIVISION
              10
                                                 )              Case No. 1:15-bk-13134-MB
              11 In re                           )
                                                 )              Chapter 11
              12                                 )
                                                 )              FIRST AND FINAL APPLICATION
              13     MOHAMMAD S. NAMAZIKHAH,     )              BY ROBERT HINDIN &
                                                 )              ASSOCIATES, APLC, A PERSONAL
              14                                 )              INJURY LAW FIRM, FOR
                                                 )              ALLOWANCE OF FEES AND
              15                         Debtor. )              REIMBURSEMENT OF COSTS FOR
                                                 )              LITIGATING DEBTOR’S PERSONAL
              16                                 )              INJURY CLAIMS; DECLARATIONS
                                                 )              OF ROBERT HINDIN AND
              17                                 )              MOHAMMAD S. NAMAZIKHAH IN
                                                 )              SUPPORT THEREOF
              18                                 )
                                                 )
              19                                 )              Date: January 19, 2022
                                                 )              Time: 1:30 p.m.
              20                                 )              Place: 21041 Burbank Boulevard
                                                 )                     Woodland Hills, CA 91367
              21                                 )                     Crtrm 303
                                                 )
              22                                 )
              23         TO THE HONORABLE MARTIN R. BARASH, UNITED STATES
              24 BANKRUPTCY JUDGE; OFFICE OF THE UNITED STATES TRUSTEE AND ITS
              25 COUNSEL OF RECORD; AND ALL PARTIES IN INTEREST:
              26         PLEASE TAKE NOTICE that on January 19, 2022 at 1:30 p.m., or as soon
              27 thereafter as the matter may be heard, in Courtroom 303 of the above-entitled United
              28 States Bankruptcy Court located at 21041 Burbank Boulevard, Woodland Hills, CA



 NIK HAYES
ORADI LLP
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                    91367, Robert Hindin will respectfully move the Court for an order approving this First
               1
                    and Final Interim Application of Robert Hindin & Associates, APLC (the “Firm” or
               2
                    “Applicant”) for the Debtor Mohammad Sadegh Namazikhah, for its fees and costs for
               3
                    litigating Debtor’s two personal injury claims (Namazikhah v. Holland, Case No. BC
               4
                    609141) (the “First Personal Injury Matter”) and (Namazikhah v. International Coffee &
               5
                    Tea, LLC, BC 687349) (the “Second Personal Injury Matter”).
               6
                           This Application is made on behalf of the Firm pursuant to 11 U.S.C. §330, for
               7
                    allowance of $55,981.33 for legal services rendered and costs advanced by the Firm, as
               8
                    follows: First Personal Injury Matter, $24,400.00 plus costs of $4,598.50; Second
               9
                    Personal Injury matter, $23,333.33 plus costs of $3,650.00.
               10
                           This Motion is based upon the Notice of Motion; 11 U.S.C. §330 that reads as
               11
                    follows: (a) (1) After notice to the parties in interest and the United States Trustee and a
               12
                    hearing, and subject to sections 326, 328, and 329, the court may award to a trustee, a
               13
                    consumer privacy ombudsman appointed under section 332, an examiner, an ombudsman
               14
                    appointed under section 333, or a professional person employed under section 327 or 1103
               15
                    — (A) reasonable compensation for actual, necessary services rendered by the trustee,
               16
                    examiner, ombudsman, professional person, or attorney and by any paraprofessional
               17
                    person employed by any such person; and (B) reimbursement for actual, necessary
               18
                    expenses. (2) The court may, on its own motion or on the motion of the United States
               19
                    Trustee, the United States Trustee for the District or Region, the trustee for the estate, or
               20
                    any other party in interest, award compensation that is less than the amount of
               21
                    compensation that is requested. 11 U.S.C. §330(a).
               22
                           PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule
               23
                    9013-1, any party opposing the relief sought by the Application must file a written
               24
                    opposition setting forth the facts and law upon which the opposition is based and must
               25
                    appear at the hearing on the Application. Any factual allegations set forth in such written
               26
                    response must be supported by competent and admissible evidence. Any response or
               27
                    opposition to the Application must be filed with the Court and served on the Debtor’s
               28

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                    Counsel at least fourteen (14) days prior to the scheduled hearing date on the Application
                1
                    (not excluding Saturdays, Sundays or legal holidays). Such responses, if any, must be
                2
                    served on the Debtor’s Counsel at the address noted in the upper left-hand corner of the
                3
                    first page of this notice. Pursuant to Local Bankruptcy Rule 9013-1, any response not
                4
                    timely filed and served may be deemed by the Court to be consent to the granting of the
                5
                    relief requested by the Application.
                6
                           WHEREFORE, the Firm respectfully requests that the Court enter its Order
                7
                    allowing the fees and expenses requested by the Firm as set forth herein, and granting such
                8
                    other and further relief as is just and proper under the circumstances.
                9
               10
               11
               12 Dated: December 9, 2021                               RESNIK HAYES MORADI LLP
               13
                                                                  By:          /s/ M. Jonathan Hayes
               14                                                                 M. Jonathan Hayes
                                                                                  Matthew D. Resnik
               15                                                                 Attorneys for Professional
                                                                               Robert Hindin & Associates
               16
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                                       MEMORANDUM OF POINTS AND AUTHORITIES
               1
                            ROBERT HINDIN & ASSOCIATES, APLC (“Applicant” or the “Firm”), personal
               2
                    injury counsel for MOHAMMAD NAMAZIKHAH (the "Debtor"), applies to the Court as
               3
                    follows:
               4
               5
                       1.        INTRODUCTION
               6
                            This Application is made on behalf of the Firm pursuant to 11 U.S.C. §330, for
               7
                    allowance of fees for services rendered for litigating personal injury claims of $55,981.33
               8
                    for legal services rendered by the Firm, as follows: First Personal Injury Matter,
               9
                    $24,400.00 plus costs of $4,598.50; Second Personal Injury matter, $23,333.33 plus costs
               10
                    of $3,650.00.      The fees have already been paid as is explained below.
               11
               12
                       2.        BACKGROUND INFORMATION IN COMPLIANCE WITH LOCAL
               13
                                 BANKRUPTCY RULE 2016-1(1)
               14
                            1.      Name and Location of Applicant: Applicant is Robert Hindin & Associates
               15
                    APLC, and Robert Hindin is located at 11400 West Olympic Boulevard, Ste. 1400, Los
               16
                    Angeles, California 90064.
               17
                            2.      Type of Service Rendered: Applicant was employed as Special Counsel to
               18
                    handle two personal injury matters for the Debtor.
               19
                            3.      Date Chapter 11 Case was commenced: Debtor commenced this case by
               20
                    filing a Chapter 11 Petition on September 20, 2015.
               21
                            4.      Date Employment Commenced and Date of Authorization: The Debtor filed
               22
                    an Application to employ his personal injury counsel Robert Hindin as of August 25, 2017.
               23
                    DOC 103]. The Application described only the First Personal Injury Matter as is further
               24
                    set forth below.
               25
                            5.      Date of Last Fee Application: None.
               26
                            6.      Summary of Fees and Costs Previously Allowed and Paid.
               27
                                          a.      Amount of Advanced Fee Payment: None
               28

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               1
                                       b.      Amount of Advanced Fee Payment Remaining: None.
               2
                                       c.      Amount Actually Paid Pursuant to Prior Applications: N/A.
               3
                                       d.      Total Amount Remaining to be Paid Pursuant to Prior
               4
                                               Applications: N/A.
               5
                                       e.      Total Amount Allowed Yet Reserved Pending Final Fee
               6
                                               Application: N/A.
               7
                            Source of Fee Payment and Cost Reimbursement: The fees have already been paid
               8
                    as is explained below.
               9
                            Compliance with Local Bankruptcy Rule 2016-1(k): Mr. Hindin has reviewed the
               10
                    requirements of Local Bankruptcy Rule 2016-1(k). This Application substantially
               11
                    complies with this rule.
               12
               13
                       3.      OVERVIEW OF THE BANKRUPTCY CASE
               14
                            Dr. Mohammad Sadegh Namazikhah is 73 years old. He filed his chapter 11
               15
                    petition on September 20, 2015. His general counsel in the bankruptcy case at all times
               16
                    was Raymond H. Aver.
               17
                            The chapter 11 case was dominated by litigation involving creditor Abraham
               18
                    Ghorbanian, a competitor of Dr. Namazikhah. Mr. Hindin was active in that litigation but
               19
                    does not seek allowance of any fees related to that case.
               20
                            Mr. Aver filed an Application to Employ Mr. Hindin on August 25, 2017 [Doc.
               21
                    103]. The Application disclosed that Mr. Hindin would function as Special Counsel
               22
                    assisting Mr. Aver in the Ghorbanian litigation and, in addition would continue to
               23
                    represent Dr. Namazikhah in the First Personal Injury Matter.
               24
                            During the pendency of the chapter 11 case, Dr. Namazikhah slipped and fell at a
               25
                    Coffee Bean and sustained injuries. He asked Mr. Hindin to represent him in that case as
               26
                    well. Mr. Hindin did so not realizing he should have amended the Employment
               27
                    Application to advise the court and creditors of the new tasks he took on. He relied on
               28

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                    Debtor’s counsel to either file the required application or supplement or to advise him he
               1
                    must do it himself.
               2
                            The chapter 11 case was converted to chapter 7 on December 20, 2019. David
               3
                    Seror was appointed the trustee.
               4
               5
                       4.           DESCRIPTION OF SERVICES BY CATEGORY
               6
                            The services rendered on behalf of the Debtor included the following:
               7
               8
                               A.     NAMAZIKHAH V. HOLLAND: AUTO ACCIDENT CASE - FIRST
               9
                                      PERSONAL INJURY MATTER
               10
                            As set forth in the Declaration of Robert M. Hindin attached:
               11
                            Robert Hindin & Associates, APLC was the attorney of record for Dr. Namazikhah
               12
                    in a case entitled Namazikhah v. Holland, case number BC609141, in the Los Angeles
               13
                    Superior Court - Central District, which was filed on December 9, 2015, concerning an
               14
                    auto versus auto incident that occurred on December 11, 2013. This case is here referred
               15
                    to as “First Personal Injury Matter”.
               16
                            Dr. Namazikhah was involved in an auto accident on December 11, 2013, a year
               17
                    and a half or so before the chapter 11 petition was filed. The accident occurred on
               18
                    Topanga Canyon Boulevard when Dr. Namazikhah’s car was hit by the car of Delbert
               19
                    Holland.
               20
                            As a result of the accident, Dr. Namazikhah suffered from severe pain in his neck,
               21
                    right hip, complete tear of the rotator cuff of his shoulder, tear of the superior labrum,
               22
                    severe injury to the lower back and both sacroiliac joints.
               23
                            Dr. Namazikhah retained Mr. Hindin to represent him against Mr. Holland on
               24
                    December 17, 2013. After two years of negotiations with the insurance company to no
               25
                    avail, Mr. Hindin prepared and filed a complaint, began discovery and trial preparation.
               26
               27
               28

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                          On October 25, 2017, the parties attended mediation and reached a settlement in
                1
                    which the defendant paid $61,000 to Dr. Namazikhah. Mr. Hindin advised Mr. Aver of the
                2
                    settlement on or about October 30, 2017.
                3
                           An accounting of the distribution of the proceeds is as follows:
                4
                5
                           Payments of Liens                           $23,000.00
                6
                           Hindin 40%                                      24,400.00
                7
                           Hindin costs                                     4,589.50
                8
                           Balance to Dr. Namazikhah                        9,410.50 1
                9
                                    Total                                  $61,000.00
               10
                           Dr. Namazikhah approved the distribution on or about November 28, 2018. Mr.
               11
                    Hindin, not realizing the settlement might need to be approved by the bankruptcy court or
               12
                    that the bankruptcy court needed to approve his fees before he actually took the funds,
               13
                    distributed the proceeds as set forth above.
               14
                           The court ruled at a hearing on November 17, 2021 that the auto accident was
               15
                    exempt and that turnover of the proceeds of that claim was exempt. Mr. Hindin includes
               16
                    the request to insure full disclosure of the matter.
               17
               18
                               B.      NAMAZIKHAH v. COFFEE BEAN & TEA, LLC: SLIP AND FALL
               19
                                       CASE – SECOND PERSONAL INJURY MATTER:
               20
                           Robert Hindin & Associates, APLC was also the attorney of record for Dr.
               21
                    Namazikhah in a case entitled Namazikhah v. International Coffee & Tea, LLC, case
               22
                    number BC687349, in the Los Angeles Superior Court - Central District, which was filed
               23
                    on December 18, 2017, concerning a slip-and-fall incident that occurred on August 24,
               24
                    2017. This case is here referred to as “Second Personal Injury Matter”.
               25
               26
               27
                    1
                    The payment to Dr. Namazikhah was reduced, with his permission, by $4,000
               28 representing costs Mr. Hindin had advanced in the Ghorbanian v. Namazikhah litigation.

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                           On August 24, 2017, Dr. Namazikhah suffered serious injuries while walking out of
               1
                    the Coffee Bean Tea & Leaf Store located at 10612 National Boulevard, Los Angeles
               2
                    90034. Dr. Namazikhah was carrying a cardboard tray holding three beverages at the time
               3
                    of the injury.
               4
                          On September 30, 2017, Dr. Namazikhah retained Mr. Hindin on a contingency fee
               5
                    basis to represent him in Second Personal Injury Matter. Paragraph 4 of the Fee
               6
                    Agreement states that Dr. Namazikhah would be responsible for a list of related costs and
               7
                    expenditures advanced by the Firm on his behalf in prosecuting his case, and that the Firm
               8
                    shall be reimbursed for such costs and expenditures from the recovery of the Second
               9
                    Personal Injury Matter, whether by settlement or through court trial. Paragraph 5 of the
               10
                    Fee Agreement states that the settlement check shall be made payable jointly to Dr.
               11
                    Namazikhah and the Firm.
               12
                           Mr. Hindin believes he advised Mr. Aver about this new matter. Mr. Hindin spent
               13
                    considerable time reviewing the facts that led to Dr. Namazikhah’s fall; obtaining
               14
                    information regarding the responsible parties; and obtaining information regarding the
               15
                    premises where the incident took place. He and the Firm conducted a thorough
               16
                    investigation and discovered the owner of the store and the property owner of the parking
               17
                    lot. He retained an expert to determine whether there was a crack in the curb and a chip of
               18
                    the curb was missing, when Dr. Namazikhah stepped down from the curb.
               19
                          As a result of the incident, Dr. Namazikhah sustained serious injuries that required
               20
                    him to have surgery on his right rotator cuff and having physiotherapy and acupuncture
               21
                    treatment.
               22
                          During the course of the litigation, the defense strategy was to attack Dr.
               23
                    Namazikhah and claim that his injury was caused by his own negligence and that he
               24
                    should recover nothing. After a year of litigation, Mr. Hindin was able to convince the
               25
                    other party to go to mediation with John K. Raleigh, Esq. at ARC.
               26
                          Mr. Hindin attended mediation with Dr. Namazikhah for six hours on January 15,
               27
                    2020 and was able to obtain a settlement for $70,000.00.
               28

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                            Following is a summary of the distribution of the $70,000 in settlement proceeds.
               1
                    Copies of the checks are attached as Exhibits “10” to “14” of Declaration of Robert
               2
                    Hindin.
               3
               4
                            Payments of Liens                         $36,200.00
               5
                            Hindin 40% (lowered to 33%)               23,333.33
               6
                            Hindin costs                                3,659.00
               7
                            Payment to Mr. Aver                         5,000.00
               8
                            Payment of Aver deposition costs            3,653.59
               9
                            Balance in Client Trust Account             2,654.08
               10
                                  Total                                 $70,000
               11
                            Mr. Hindin advised Mr. Aver of the settlement by telephone on or about January 17,
               12
                    2020. Mr. Aver advised Mr. Hindin that he would take care of getting the settlement
               13
                    approved and that Mr. Hindin could distribute the proceeds as set forth above. Mr. Aver
               14
                    requested of Mr. Hindin that he send $5,000 of the proceeds to him and issue a check for
               15
                    $3,653 to cover the cost of a court reporter previously paid by Mr. Aver relating to the
               16
                    Ghorbanian matter. Copies of the checks are attached hereto.
               17
                            Dr. Namazikhah approved the distribution on or about January 15, 2020. Mr.
               18
                    Hindin, not realizing that the bankruptcy court needed to approve his fees before he
               19
                    actually took the funds, distributed the proceeds as set forth above.
               20
               21
                       5.      RESPONSE TO DEMANDS FOR TURNOVER BY THE TRUSTEE
               22
                            Mr. Hindin and Mr. Aver participated in a telephone conference with Nancy
               23
                    Zamora, counsel for the trustee, in or about early August 2021. Subsequently, Mr. Hindin
               24
                    provided a Declaration of Robert M. Hindin, with receipts attached, to Ms. Zamora on
               25
                    August 27, 2021, explaining the Second Personal Injury Matter and the distribution of the
               26
                    settlement proceeds.    There were settlement discussions at the time and later between Ms.
               27
               28

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                    Zamora and Mr. Hindin’s counsel, Mr. Hayes. Unfortunately to date there has been no
               1
                    settlement.
               2
               3
                       6.          REQUEST FOR RETROACTIVE APPROVAL OF EMPLOYMENT FOR
               4
                                   SECOND PERSONAL INJURY MATTER
               5
                              The court should consider the following factors in evaluating whether to approve
               6
                    retroactively the employment of a professional. See In re Twinton Properties Partnership,
               7
                    27 B.R. 817, 819–20 (Bankr.M.D.Tenn.1983), cited with approval by the Ninth Circuit
               8
                    BAP. See, e.g., Credit Alliance Corp. v. Boies (In re Crook), 79 B.R. 475, 478 (9th Cir.
               9
                    BAP 1987); In re Crest Mirror & Door Co., 57 B.R. 830 (9th Cir BAP 1986); In re
               10
                    Kroeger Properties & Dev., Inc., 57 B.R. 821 (9th Cir. 1986).
               11
                              1.       The debtor, trustee or committee expressly contracted with the professional
               12
                    person to perform the services which were thereafter rendered;
               13
                                   The Debtor contracted with Mr. Hindin to represent him in these two matters.
               14
                              2.       The party for whom the work was performed approves the entry of the nunc
               15
                    pro tunc order;
               16
                                   The Debtor has approved entry of the retroactive order.
               17
                              3.       The applicant has provided notice of the application to creditors and parties
               18
                    in interest and has provided an opportunity for filing objections;
               19
                                   This motion has been served on every creditor who now have an opportunity to
               20
                    object.
               21
                              4.       No creditor or party in interest offers reasonable objection to the entry of the
               22
                    nunc pro tunc order;
               23
                              This has yet to be seen but Mr. Hindin assumes that the trustee will object.
               24
                              5.       The professional satisfied all the criteria for employment pursuant to 11
               25
                    U.S.C.A. § 327 (West 1979) and Rule 215 [now Rule 2014] of the Federal Rules of
               26
                    Bankruptcy Procedure at or before the time services were actually commenced and
               27
                    remained qualified during the period for which services were provided;
               28

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                                   Mr. Hindin’s employment was approved as to the first case, the auto accident.
               1
                    No party objected to the employment application and it was approved. That establishes
               2
                    that he satisfied all the criteria for his employment by the estate in the second matter. In
               3
                    short, he has no conflicts with the Debtor or the estate. He was clearly qualified to
               4
                    represent the debtor in a personal injury matter and would have been approved had
               5
                    Debtor’s general counsel filed the appropriate application or at least a supplement to the
               6
                    application.
               7
                              6. The work was performed properly, efficiently, and to a high standard of quality;
               8
                                   Mr. Hindin asserts and the Debtor agrees that the work was performed in an
               9
                    exemplary manner and that Mr. Hindin should be paid for his efforts and the great results
               10
                    that were achieved.
               11
                              7.      No actual or potential prejudice will inure to the estate or other parties in
               12
                    interest;
               13
                                   There is no prejudice to any party. Of course, if the employment is not approved
               14
                    retroactively, the estate will have some $23,000 extra but that would always be the result
               15
                    of this factor. There is no prejudice to any party for Mr. Hindin getting paid for the work
               16
                    he did.
               17
                              8.      The applicant's failure to seek pre-employment approval is satisfactorily
               18
                    explained; and
               19
                                   Mr. Hindin relied on the debtor’s general counsel Raymond Aver to file the
               20
                    Application to approve his employment as was done with respect to the first personal
               21
                    injury action. It was reasonable to believe that Mr. Aver would do that. It was also
               22
                    reasonable for Mr. Hindin to believe that the original application included the second
               23
                    personal injury matter. Mr. Hindin is not a bankruptcy attorney and his reliance on Mr.
               24
                    Aver was reasonable.
               25
                              9.      The applicant exhibits no pattern of inattention or negligence in soliciting
               26
                    judicial approval for the employment of professionals.
               27
               28

RESNIK HAYES
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                                  Mr. Hindin was employed in the first instance. There is no pattern of inattention.
                1
                    He did his job.
                2
                             Mr. Hindin asserts that the record in this case establishes that the failure to be
                3
                    employed in advance was inadvertent as to him. The evidence establishes that he did the
                4
                    job and got the results and that he should not be denied compensation because of the
                5
                    failure of Debtor’s counsel to prepare and file the required Application.
                6
                7
                       10.        LISTING OF PROFESSIONAL EDUCATION AND EXPERIENCE
                8
                             Robert Hindin’s resume listing his professional education and experience is
                9
                    attached as Exhibit "A" to Robert Hindin’s Declaration.
               10
               11
                             WHEREFORE, Applicant respectfully requests:
               12
                             1.      That the Court approve and allow fees, pursuant to 11 U.S.C. §330, for
               13
                    services rendered of $24,400.00 for legal services related to First Personal Injury Matter, in
               14
                    addition to $4,589.50 for costs that was already paid as expenses by the Firm.
               15
                             2.      That the Court approve and allow fees, pursuant to 11 U.S.C. §330, for
               16
                    services rendered of $23,333.33 for legal services related to the Second Personal Injury
               17
                    Matter, in addition to $3,650 for costs that was already paid as expenses by the Firm.
               18
                             3.      Such other and further relief as this Court deems just and proper.
               19
               20 Dated: December 9, 2021                                    RESNIK HAYES MORADI LLP
               21
               22                                                    By:          /s/ M. Jonathan Hayes
                                                                                     M. Jonathan Hayes
               23                                                                  Matthew D. Resnik
                                                                                    Attorneys for Creditor
               24                                                                      Robert Hindin
               25
               26
               27
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                                DECLARATION OF MOHAMMAD SADEGH NAMAZIKHAH
               1
                    I, Mohammad Sadegh Namazikhah, declare as follows:
               2
                           1.        I am the debtor herein. I have personal knowledge of the facts of this case as
               3
                    set forth herein. If called upon as a witness, I could and would competently testify as to
               4
                    these matters.
               5
                           2.        I am submitting this declaration in support of First and Final Application by
               6
                    Robert Hindin & Associates, APLC, a Personal Injury Law Firm, For Allowance of Fees
               7
                    and Reimbursement of Costs for Litigating Debtor’s Personal Injury Claims.
               8
                           3.        I am 73 years old, have been married for 53 years, and am an established
               9
                    endodontist with 41 years of experience. I was the Chairman of the Endodontic
               10
                    Department and Director of the Post Graduate Program at the University of Southern
               11
                    California for a number of years. I am the former President of the Dental Society and
               12
                    Trustee of the California Dental Association. I have given lectures both in the United
               13
                    States and internationally over the past 20 years. I am the Founder of Interfaith Festival of
               14
                    Unity Center. I am also the Founder of Iman Cultural Center, and its current President and
               15
                    CEO.
               16
                           4.        I first met attorney Robert Hindin approximately 10 years ago. He has
               17
                    represented me in numerous legal matters. In addition, he has represented members of my
               18
                    family during this period of time. I think of Mr. Hindin in the highest regard and believe
               19
                    he is an excellent attorney. In addition, I think of Mr. Hindin as a personal friend and I
               20
                    have had many lunches and dinners with him over the years. I believe he has my personal
               21
                    best interest at heart.
               22
                    First Personal Injury Matter
               23
                           5.        I was involved in a car accident on December 11, 2013 and I immediately
               24
                    contacted Mr. Hindin. I signed a Retainer Agreement with Mr. Hindin’s firm on
               25
                    December 17, 2017. His firm immediately represented me and assisted with repairs to my
               26
                    car and arranged for medical treatment for me. In this car accident, I suffered pain to my
               27
                    left shoulder, and I treated with a chiropractor, Dr. Nemat, whom is a chiropractor I knew
               28

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                    before the car accident. I was treated for left shoulder pain, lower back pain and stiffness.
               1
                    I was then referred to Dr. Hekmat. Upon seeing Dr. Hekmat, I was given an epidural
               2
                    steroid injection, which helped with my back and right leg pain. After some time, my
               3
                    shoulder was not improving, and it was determined that I needed arthroscopic surgery to
               4
                    my left shoulder, which I undergone. Dr. Hekmat performed the surgery in year 2016. In
               5
                    addition, I saw Dr. Aminian for a second opinion, a neurologist that I knew, due to
               6
                    headaches that I was suffering from following the accident. I obtained an MRI which
               7
                    indicated that the headaches derived from a neck injury as a result of the car accident.
               8
                           6.     These are the doctors I treated with as a result of the injuries I suffered from
               9
                    the car accident I was involved in with Mr. Delbert Holland:
               10
                                  •      Primary Health Clinic / Elham Nemat, D.C., Q.M.E
               11
                                         16101 Ventura Blvd., Ste. 343, Encino, CA 91436, 818-779-1447
               12
                                         Chiropractic manipulation and physical therapy
               13
                                  •      Integrated Healthcare Medical Group / Kamran Broukhim, M.D. /
               14
                                         Roya Tabibian, D.C. 1762 Westwood Blvd., Ste. 300, Los Angeles,
               15
                                         CA 90024, 310-441-2000
               16
                                         Chiropractic manipulation and physical therapy
               17
                                  •      Radiology Disc of Encino / Andy Herbold, M.D.
               18
                                         16661 Ventura Blvd., Ste. 100, Encino, CA 91436, 818-986-3472
               19
                                         MRI
               20
                                  •      Beverly Hills Center for Arthroscopic and Outpatient Surgery /
               21
                                         Jamshid Hekmat, M.D. / Farshid Hekmat, M.D. / Samuel Seelig,
               22
                                         M.D. / Sharon Bonnes, M.D. / Shirin Hekmat, 9763 Pico Blvd., Ste.
               23
                                         250, Los Angeles, CA 90035, 310-772-0098
               24
                                         Epidural injection, arthroscopy of the left shoulder with arthroscopic
               25
                                         repair of the rotator cuff, arthroscopic repair of the superior labrum,
               26
                                         arthroscopic subacromial decompression/acromioplasty, arthroscopic
               27
               28

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                                          Mumford procedure, arthropscopic synovectomy, arthroscopic total
               1
                                          bursectomy, bilateral sacroiliac blocks, anesthetics, lab work.
               2
                           7.      During the time that Mr. Hindin represented me, he constantly contacted me
               3
                    and we spoke about the case; he kept me apprised of what was going on. He indicated to
               4
                    me that he was unable to settle the case without filing a lawsuit, which he did on my
               5
                    behalf, with my knowledge. During litigation, I was called into Mr. Hindin’s office on a
               6
                    number of occasions to answer discovery questions and to prepare me for a deposition. In
               7
                    addition to discussing my medical treatment, we discussed at length how the injuries were
               8
                    effecting my life and my work. I sat through a deposition for approximately five hours
               9
                    regarding this case. Mr. Hindin represented me at the deposition and personally attended
               10
                    the deposition with me. Following the deposition, I had lengthy conversations with Mr.
               11
                    Hindin wherein I was told that he was having problems with settling the case for a
               12
                    reasonable amount, and thus we should participate in mediation. I agreed with Mr. Hindin
               13
                    that the next step would be to attend a mediation with a mediator that both sides agreed
               14
                    upon. I did attend a mediation with Mr. Hindin on October 25, 2017, which lasted for
               15
                    about 4 hours. At the mediation, the case was settled for $61,000.00. I believe that Mr.
               16
                    Hindin did an excellent job in this case and maximized my settlement as much as he could.
               17
                    Although I believe I should have received more money, I believe that $61,000.00, as
               18
                    explained to me by Mr. Hindin, was a fair settlement. In addition, I know that Mr. Hindin
               19
                    spent a substantial amount of time negotiating my medical bills and obtaining substantial
               20
                    discounts to the bills.
               21
                           8.      In or about November 28, 2018, I was at Mr. Hindin’s office when we
               22
                    reviewed the settlement accounting for disbursement of the $61,000.00. I went over each
               23
                    item listed in the settlement accounting, including my agreement to pay Mr. Hindin
               24
                    $5410.50 for fees incurred for him representing me in the Ghorbanian matter and allowing
               25
                    him to take $4000.00 of the settlement money of the personal injury case to apply to the
               26
                    arbitration cost incurred in the Ghorbanian matter. We went over the settlement
               27
               28

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                    accounting item by item and I agreed to the distribution of said monies and payments to
               1
                    doctors. I believe Mr. Hindin did an excellent job in this matter.
               2
                           9.     In addition, Mr. Raymond Aver, who was representing me in my bankruptcy
               3
                    proceedings, both Chapter 7 and Chapter 11, knew of the existence of the personal injury
               4
                    case against Mr. Holland. I gave consent to Mr. Aver to petition the Chapter 11
               5
                    bankruptcy court to have Mr. Hindin hired as my attorney in the PI matter. It is also my
               6
                    understanding that Mr. Aver knew that the personal injury case was proceeding and was in
               7
                    fact settled during mediation.
               8
                    Second Personal Injury Matter
               9
                           10.    On or about August 24, 2017, I was a customer at a coffee shop well-known
               10
                    as The Coffee Bean, located at 10612 National Blvd., Los Angeles, CA 90034. At
               11
                    approximately 3:00 p.m., I purchased 3 cups of coffee to-go. I was handed a cardboard
               12
                    tray with the 3 cups of coffee placed in it, by an employee of The Coffee Bean, and then
               13
                    exited the store. As I walked towards my car that was parked in the parking lot for
               14
                    customers of The Coffee Bean, unbeknownst to me, there was an unmarked curb that was
               15
                    in disrepair, in a cracked and broken condition. I stepped down from the unmarked curb
               16
                    that was in disrepair, slightly lost balance in my left foot due to the curb’s condition, which
               17
                    caused my right foot to hit the concrete stopper ahead, and then caused me to trip over the
               18
                    stopper and fall to the ground.
               19
                           11.    Immediately after the accident, I contacted Mr. Hindin and told him I had
               20
                    another accident. I described what transpired and told him that I had severely hurt my
               21
                    right shoulder. Please note that Mr. Hindin was still representing me in the car accident
               22
                    against Mr. Holland, which at the time had not settled yet. Upon speaking with Mr.
               23
                    Hindin, he went to the accident site accompanied by his son, Kyle Hindin, whom is also an
               24
                    attorney. Mr. Hindin took photographs of the location of the incident.
               25
                           12.    I called Mr. Hindin regarding this accident without hesitation because I was
               26
                    happy with how he was handling the car accident case. I signed a written Contingency Fee
               27
                    Agreement to retain Mr. Hindin for his accident on September 30, 2017. After working on
               28

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                    my case for a short period of time, I was informed by Mr. Hindin that there may be 2
               1
                    responsible parties for my accident, being International Coffee & Tea Leaf, and a separate
               2
                    entity that owned the parking lot that serviced The Coffee Bean store, which is Tenger
               3
                    Investment Co. Please note that at this time, Mr. Hindin was also still representing me in
               4
                    the Ghorbanian matter that was pending.
               5
                           13.    Upon signing the Retainer Agreement with Mr. Hindin, I spent considerable
               6
                    amount of time discussing the merits of the case and the need for immediate medical
               7
                    attention. Soon after retaining Mr. Hindin, he had conversations with me about his contact
               8
                    with an expert, whom believed that the curb in which I fell was in disrepair and unmarked.
               9
                    Although this was brought to my attention, Mr. Hindin also indicated to me, through his
               10
                    experience in excess of 40 years, any slip and fall case is always subject to the defense of
               11
                    comparative negligence.
               12
                           14.    As a result of the slip and fall accident, I suffered from a torn rotator cuff to
               13
                    my right shoulder, which resulted in another surgery performed by Dr. Hekmat. Dr.
               14
                    Hekmat was the same surgeon that performed surgery to my left shoulder which was
               15
                    injured in the car accident, as described above. I also suffered from bruises and pain to my
               16
                    right elbow, bruises to my right knee, and inability to raise my right arm. I lacked sleep
               17
                    for 4 weeks following surgery to my right shoulder, with stiffness in my neck and lower
               18
                    back pain. I had chronic dull pain to my right arm. I also suffered from anxiety,
               19
                    nervousness, constant intermittent pain that caused me to suffer from headaches which was
               20
                    related to the pain and anxiety over limitation of movement. All of these injuries affected
               21
                    my ability to earn a living. Further, I suffered from an allergic reaction to anesthesia
               22
                    following the surgery to my shoulder, which caused a severe rash with itching and redness
               23
                    to my entire body for a period of approximately 1 week.
               24
                           15.    The treating doctors that attended to me for the injuries I suffered from the
               25
                    slip and fall accident were:
               26
                                  •      Fred Farshid Hekmat, MD
               27
                                         9763 Pico Blvd., Ste. 200, Los Angeles, CA 90035, 310-712-0000
               28

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                                         Consultation, surgery, follow-up visits
               1
                                  •      Radiology Disc of Encino
               2
                                         16661 Ventura Blvd., Ste. 100, Encino, CA 91436, 818-267-9622
               3
                                         MRIs
               4
                                  •      Southern California Hospital at Culver City
               5
                                         3828 Delmas Terrace, Culver City, CA 90231
               6
                                         Surgery
               7
                                  •      Quantum Health Clinics, DC, Inc.
               8
                                         910 Via De La Paz, Ste. 101, Pacific Palisades, CA 90272, 310-278-
               9
                                         8384
               10
                                         Physiotherapy treatment
               11
                           16.    In addition, I decided to have acupuncture treatment instead of traditional
               12
                    physical therapy. I went to a person by the name of Dr. Elham Mahoozi. I have known
               13
                    her for a while and I heard that she is an excellent acupuncturist. I began receiving
               14
                    acupuncture after I felt that traditional physical therapy was not helping me. I treated with
               15
                    Dr. Mahoozi for approximately 2 years. My decision to use the acupuncturist was mine
               16
                    alone, and I told Mr. Hindin that was what I wanted to do. From the start of litigation of
               17
                    the second case, I was always kept informed by Mr. Hindin of the progress of my case, and
               18
                    Mr. Hindin indicated that slip and fall cases are very difficult and the defense would take
               19
                    the position that the accident was my fault. Therefore, Mr. Hindin told me to expect a
               20
                    lawsuit to be filed and the case to be litigated. In regards to both accidents, my objective
               21
                    was to pay my medical bills, not to make money, despite the fact that as a result of the
               22
                    second accident, I was out of work for 2 months. I agreed with Mr. Hindin that if it was
               23
                    necessary to pursue a lawsuit against the responsible parties, to do so.
               24
                           17.    After the lawsuit was filed and served, I spent numerous hours with Mr.
               25
                    Hindin and his associate, Snow Vuong, answering written interrogatories. Mr. Hindin also
               26
                    indicated that an expert needed to be hired to verify that there were code violations
               27
                    existing where I fell at the parking lot of The Coffee Bean.
               28

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                           18.    Further, Mr. Hindin attended my deposition, which lasted approximately 5
               1
                    hours. After the deposition, I was given a copy of the transcript to review, which I did
               2
                    with Mr. Hindin. After more discovery was propounded and answered by both parties, it
               3
                    was agreed upon that there would not be a settlement, but the defense counsel agreed to
               4
                    attend mediation. After a lengthy discussion, I agreed to participate in mediation and Mr.
               5
                    Hindin indicated to me, through his knowledge that he obtained John Raleigh through
               6
                    ARC. It is my understanding that Mr. Hindin advanced the mediation fee. Mr. Hindin
               7
                    also explained to me that Mr. Raleigh was the perfect mediator for this type of case
               8
                    because he was a personal injury defense attorney for over 25 years and had his own
               9
                    defense firm before retiring as a practicing attorney to become a full-time mediator. Mr.
               10
                    Hindin also informed me that he had used Mr. Raleigh on 2 prior occasions within the last
               11
                    year with very good results. We attended mediation at the ARC offices located in
               12
                    downtown Los Angeles. I attended the mediation, which began at 10 a.m. and resolved at
               13
                    3 p.m. the same day. Throughout the mediation, the mediator had separate conferences
               14
                    with the parties. When Mr. Raleigh came to my side, we had intense discussions regarding
               15
                    the case. All through these conversations, I was very impressed with Mr. Hindin’s
               16
                    knowledge of my case and the command of the law that pertains to my case. After some
               17
                    very heated discussions, I agreed to settle the case for $70,000.00. At the mediation, a
               18
                    settlement agreement was drafted by Mr. Raleigh. I read it, reviewed it with Mr. Hindin,
               19
                    and executed it.
               20
                           19.    Then on January 15, 2020, I was at Mr. Hindin’s office where I reviewed a
               21
                    4-page General Release of All Claims with Mr. Hindin. On or about January 17, 2020,
               22
                    Mr. Hindin spoke with me and informed me that he had a telephone conversation with Mr.
               23
                    Aver. In this conversation, he told me that he asked Mr. Aver if we were able to disburse
               24
                    the $70,000.00 settlement funds without getting court authority. Mr. Hindin specifically
               25
                    said to me that Mr. Aver told him not to worry because Mr. Aver would take care of
               26
                    everything with the Court. I was also told by Mr. Hindin that Mr. Aver requested
               27
                    $5000.00 from the settlement funds as payment towards his legal fees for my bankruptcy,
               28

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                    and that Mr. Aver wanted to be reimbursed for payment of deposition costs that he had
               1
                    incurred in the Ghorbanian matter as a secured creditor. I gave consent to Mr. Hindin to
               2
                    give Mr. Aver $5000.00 from the settlement for fees he incurred for my bankruptcy and
               3
                    also $3653.59 to pay the court reporter.
               4
                           20.    On January 22, 2020, I again visited Mr. Hindin’s office and went over the
               5
                    accounting of this case. I was pleasantly surprised, without my request that Mr. Hindin
               6
                    agreed to lower his fee from 40% to one-third. I was very appreciative of what Mr. Hindin
               7
                    did because I know he worked hard on the case and I personally know through
               8
                    conversations, the amount of time spent, and this was a difficult case to resolve because
               9
                    the defense was obsessed that I was at fault, or partially at fault, for the accident.
               10
                           21.    Once again, I was very pleased with Mr. Hindin’s representation of me in the
               11
                    second accident, as well as the first accident.
               12
                           22.    I am a professional person and academician; I am knowledgeable in my area
               13
                    of expertise, but when matters concern legal issues and litigation, I am a lay person. For
               14
                    this reason, I rely on my lawyers and trust them to make the right decisions on my behalf
               15
                    regarding legal matters.
               16
               17
                           I declare under penalty of perjury under the laws of the United States of America
               18
                    that the foregoing is true and correct.
               19
                           Executed December 6, 2021, at Los Angeles, California.
               20
               21
               22                                                     By: _ ____             _______
                                                                          Mohammad Sadegh Namazikhah
               23                                                                Declarant
               24
               25
               26
               27
               28

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                                            DECLARATION OF ROBERT HINDIN
               1
               2
                           I, Robert Hindin, declare as follows:
               3
                           1.     I am a member of the California Bar. I am admitted to practice in all the
               4
                    Courts of the State of California and am admitted to practice before the District Court of
               5
                    the Central District of California. I am the lead attorney in the law firm of Robert Hindin
               6
                    & Associates, APLC. I have personal knowledge of all the facts contained in this
               7
                    declaration and if called as a witness, I could and would competently testify thereto.
               8
                           2.     I have been practicing law since my admission as an attorney in June 1975
               9
                    and my license has always been in good standing. My current law firm, Robert Hindin &
               10
                    Associates, APLC, was formed in 2007. My legal specialties encompass personal injury
               11
                    litigation, business litigation, family law, and real estate matters. Attached hereto as
               12
                    Exhibit “A” is a true and correct copy of my curriculum vitae.
               13
                           3.     I have known Dr. Namazikhah for over 20 years and have been his legal
               14
                    counsel during that period of time.
               15
                           4.     I referred Dr. Namazikhah to Mr. Aver for his Chapter 11 bankruptcy. I
               16
                    have known Mr. Aver for 10 years and have referred him a number of cases in the past,
               17
                    and I had trust in him and his work ethic. During the time I represented Dr. Namazikhah
               18
                    in the slip and fall case (“Second Personal Injury Matter”), he was in bankruptcy. From
               19
                    the beginning when I represented Dr. Namazikhah in the Second Personal Injury Matter, I
               20
                    advised Mr. Aver, as Dr. Namazikhah’s bankruptcy counsel, that my firm was retained for
               21
                    such purpose. I relied on Mr. Aver to do what was necessary with such information, as far
               22
                    as Dr. Namazikhah’s bankruptcy was concerned, which is the reason I told him of my
               23
                    representation in the Second Personal Injury Matter. It was my understanding that Mr.
               24
                    Aver would file the requisite papers to have my firm employed to represent Dr.
               25
                    Namazikhah in the Second Personal Injury Matter. Mr. Aver had done so in another
               26
                    personal injury case I was retained for (“First Personal Injury Matter”) and he was
               27
               28

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                    bankruptcy counsel. This was my understanding based upon my discussion with Mr. Aver
               1
                    about the Second Personal Injury Matter.
               2
                           5.     I have a personal relationship with Dr. Namazikhah, and I communicated
               3
                    with him every 2-3 weeks. During one of these conversations, Dr. Namazikhah called me
               4
                    very upset because there was a problem with the sale of his house. He then began to ask
               5
                    me some questions about a possible conversion of his bankruptcy to a Chapter 7
               6
                    bankruptcy, but I immediately stopped him, and stated to him that I do not practice
               7
                    bankruptcy, that he must speak to Mr. Aver about his bankruptcy issues.
               8
                           6.     I did not look at bankruptcy records nor the court docket nor reviewed the
               9
                    schedules relating to Dr. Namazikhah’s bankruptcy.
               10
                           7.     At the time of the settlement of the Second Personal Injury Matter, I
               11
                    contacted Mr. Aver and informed him of the settlement. Mr. Aver knew that the Second
               12
                    Personal Injury Matter was pending from previous discussions. I relied on Mr. Aver for
               13
                    guidance regarding the disbursement of the settlement funds of the Second Personal Injury
               14
                    Matter and whatever rules and regulations I would need to comply with. I asked Mr. Aver
               15
                    what I should do with the funds on deposit. Mr. Aver said he would take care of it. He
               16
                    reassured me that I was allowed to disburse the funds. Further, Mr. Aver requested that
               17
                    $5,000 be disbursed to him personally from the $70,000 settlement for payment of
               18
                    attorney’s fees for Dr. Namazikhah’s bankruptcy, for which he was attorney of record.
               19
                           8.     Based upon my conversation with Mr. Aver, I contacted Dr. Namazikhah
               20
                    and informed him that Mr. Aver requested $5,000 from the settlement funds of the Second
               21
                    Personal Injury Matter to be applied as payment for attorney’s fees for his legal bill
               22
                    regarding the bankruptcy. Dr. Namazikhah consented and gave me authorization to issue a
               23
                    check to Raymond Aver for $5,000.00 from the $70,000 settlement funds that were on
               24
                    deposit in my client trust account, which, was given to Mr. Aver.
               25
                           11.    When Mr. Aver was informed about the $70,000 settlement, he also
               26
                    requested that my firm pay directly to Atkinson-Baker Court Reporter the sum of
               27
                    $3,653.59 for payment of transcripts of depositions that were taken in Dr. Namazikhah’s
               28

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                    bankruptcy proceeding. Attached hereto as Exhibit “1” are true and correct copies of
               1
                    statements in said amount billed to Mr. Aver, whom retained the court reporter services for
               2
                    the creditor claim of Dr. Ghorbanian.
               3
                           12.    As previously stated herein, I am not a bankruptcy attorney and I solely
               4
                    relied on and trusted Mr. Aver, especially since I had known him for a number of years
               5
                    and we had a good rapport. As a result of the two disbursements to Mr. Aver and
               6
                    Atkinson-Baker Court Reporters at the direction of Mr. Aver, with approval by Dr.
               7
                    Namazikhah, which totaled $8,653, Dr. Namazikhah did not receive any monies from the
               8
                    $70,000 settlement.
               9
                    First Personal Injury Matter - Auto Incident Case
               10
                           13.    I was retained on December 17, 2013 for the First Personal Injury Matter,
               11
                    which concerned an auto versus auto collision that Dr. Namazikhah was involved in,
               12
                    against the other driver, Delbert Holland. Attached hereto as Exhibit “2” is a true and
               13
                    correct copy of the Contingency Fee Agreement.
               14
                           14.    Negotiations towards settlement of this auto collision case began after Dr.
               15
                    Namazikhah’s surgery to his left shoulder and treatment for his other physical ailments as
               16
                    a result of the auto collision. Substantial amount of time, in excess of 20 hours, dealing
               17
                    with the insurance adjuster and carrier, over a period of two years, to no avail, necessitated
               18
                    my firm to file a lawsuit on December 9, 2015. Attached hereto as Exhibit “3” are true
               19
                    and correct copies of the pleadings and discovery in the court case for the auto collision,
               20
                    which were produced by my firm.
               21
                           15.    Even after a substantial amount of time with discovery proceedings and my
               22
                    firm’s belief that Mr. Holland was absolutely liable for the incident, the defense firm,
               23
                    representing the carrier, still would not settle the matter. A trial was set, but prior to trial
               24
                    preparation taking place, we were able to agree to participate in a mediation session. After
               25
                    a full day of mediation, the case was settled for $61,000.00.
               26
                           16.    Attached hereto as Exhibit “4” is a true and correct copy of Release of All
               27
                    Claims executed by Dr. Namazikhah.
               28

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                            17.   Attached hereto as Exhibit “5” is a true and correct copy of a list of medical
               1
                    providers and costs incurred for Dr. Namazikhah’s medical treatment as a result of the auto
               2
                    collision.
               3
                            18.   Attached hereto as Exhibit “6” is a true and correct copy of the Settlement
               4
                    Accounting explaining the disbursement of settlement funds.
               5
                            19.   The amount of time spent pre-litigation and litigation was substantial, and
               6
                    my firm earned its forty percent (40%) contingency fee as based upon the foregoing facts.
               7
                    Second Personal Injury Matter – Slip and Fall Case
               8
                            20.   On or about August 24, 2017, Dr. Namazikhah contacted me personally and
               9
                    informed me that he suffered serious injuries while walking out of the International Coffee
               10
                    Bean & Tea Leaf store located at 10612 National Boulevard, Los Angeles, California
               11
                    90034, while carrying a cardboard tray holding three beverages. I was informed by Dr.
               12
                    Namazikhah that he lost his balance while stepping off a curb that was directly in front of
               13
                    the subject store, fell down, and seriously injured his right shoulder and right side of his
               14
                    body.
               15
                            21.   On September 30, 2017, Dr. Namazikhah executed a Contingency Fee
               16
                    Agreement (hereinafter “Fee Agreement”) with my office, a true and correct copy of which
               17
                    is attached hereto as Exhibit “7”, regarding the slip/trip and fall incident that occurred on
               18
                    August 24, 2017.
               19
                            22.   The Fee Agreement calls for a contingency fee of one-third (1/3) of the gross
               20
                    sum recovered if the matter is settled prior to litigation; and forty percent (40%) of the
               21
                    recovery thereafter.
               22
                            23.   Upon being retained by Dr. Namazikhah, I personally spent a number of
               23
                    hours with him reviewing the facts leading up to Dr. Namazikhah’s fall; obtaining
               24
                    information regarding the responsible party or parties for his injuries; and obtaining
               25
                    information regarding the premises where the incident took place. Upon completion of my
               26
                    investigation, I believed that Dr. Namazikhah had a viable case for premises liability.
               27
               28

RESNIK HAYES
 MORADI LLP
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                           24.    Pursuant to the information given by Dr. Namazikhah, my firm conducted a
               1
                    thorough investigation and discovered the property owner of the store and the property
               2
                    owner of the parking lot. It was determined that separate entities owned the parking lot
               3
                    and the coffee store, thus, my firm located 2 entities that may have liability and owed a
               4
                    duty of care to Dr. Namazikhah.
               5
                           25.    Upon further investigation by retaining an expert, it was determined that
               6
                    there was a crack in the curb and a chip of the curb missing, where Dr. Namazikhah
               7
                    stepped down from the curb. In addition, the expert advised my firm that there should not
               8
                    have been a concrete wheel stop at the location of Dr. Namazikhah’s fall, and further, the
               9
                    parking lot was in violation of building code and safety standards in regards to painting of
               10
                    the parking designations and curbs.
               11
                           26.    As a result of the injuries he sustained from the slip/trip and fall incident on
               12
                    August 24, 2017, Dr. Namazikhah sought medical treatment with a number of health care
               13
                    providers. Based upon a medical examination and MRIs that were taken, it was revealed
               14
                    that a surgery was necessary for his right rotator cuff, which was performed by Fred
               15
                    Farshid Hekmat, M.D. During his surgery, Dr. Namazikhah was treated by an
               16
                    anesthesiologist, Shirin Hekmat.
               17
                           27.    Following surgery, Dr. Namazikhah had limited physiotherapy treatment at
               18
                    Quantum Health Clinics DC, Inc. Rather than continue with traditional physical therapy at
               19
                    Quantum Health Clinics, Dr. Namazikhah chose to continue therapy by having
               20
                    acupuncture treatment at Divine Acupuncture Healing with Dr. Elham Mahooz, which
               21
                    lasted for a period in excess of 2 years.
               22
                           28.     Dr. Namazikhah told me that he chose acupuncture treatment instead of
               23
                    continuing with physiotherapy because he felt that his improvement at Quantum Health
               24
                    Clinics was limited.
               25
                           29.    During the course of litigation of the Second Personal Injury Matter,
               26
                    including the deposition of Dr. Namazikhah taken by defense counsel, the defense
               27
                    attempted to construct a theory that the incident was caused by Dr. Namazikhah’s own
               28

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                    negligence. The defense indicated that Dr. Namazikhah was not looking where he was
               1
                    walking, and that Dr. Namazikhah, whom is a bit portly, carried the tray of beverages right
               2
                    in front of his body, which defense claimed had blocked Dr. Namazikhah’s view of his
               3
                    feet, and blocked what was directly in front him while he was walking. Defense counsel
               4
                    was adamant and confident that if the Second Personal Injury Matter went to trial, he
               5
                    would defense the case, which means that Dr. Namazikhah would receive nothing from a
               6
                    jury because of his own negligence. Although this was the defense’s consistent position,
               7
                    my office was persistent that the incident was due to the defendants’ negligence for
               8
                    building code and safety violations. Therefore, after hitting a wall per se, after more than a
               9
                    year of litigation, I was able to convince defense counsel to participate in a private
               10
                    mediation session with John K. Raleigh, Esq. at ARC.
               11
                           30.    Because of my experience in litigating personal injury cases, I was aware of
               12
                    the reputation of Mr. Raleigh as a mediator. Mr. Raleigh had a very well-known defense
               13
                    firm for approximately 25 years prior to his retirement and becoming a mediator full time.
               14
                    Mr. Raleigh has tremendous sway with a number of insurance companies that he
               15
                    represented when he was a practicing attorney. Therefore, the defense counsel accepted
               16
                    Mr. Raleigh as the mediator and we pursued mediation on January 15, 2020. The
               17
                    mediation took 6 hours, and although defense continued to claim they would not pay
               18
                    anything and they could defense the case at trial, I was able to obtain a settlement for
               19
                    $70,000. Mr. Raleigh indicated to me that I did an excellent job and that he was surprised
               20
                    that the insurance company was willing to pay $70,000, but the case settled. Mr. Raleigh
               21
                    stated to me privately that he thought Dr. Namazikhah was in fact partially responsible for
               22
                    the incident. Thus, the settlement for $70,000 was notably a success because of the serious
               23
                    defense of contributory negligence. A true and correct copy of the Settlement Agreement
               24
                    is attached hereto as Exhibit “8”. Attached hereto as Exhibit “9” is a true and correct
               25
                    copy of the settlement check for $70,000.
               26
                           31.    The settlement draft of $70,000 was disbursed as follows:
               27
               28

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                           A.     Pursuant to the Fee Agreement, my firm was entitled to forty percent (40%)
               1
                    of the $70,000, which is $28,000.00, as its fee, however, as an accommodation to Dr.
               2
                    Namazikhah, my firm lowered its fee to one-third (1/3) and accepted a payment of
               3
                    $23,333.33, with the intentions that Dr. Namazikhah would benefit by receiving a larger
               4
                    portion from the $70,000. My firm was also reimbursed for costs in the sum of $3,650,
               5
                    which included Dr. Namazikhah’s obligation for his share of one-half the cost of the
               6
                    mediation, which was $2,500 (with defense counsel also paying $2,500), in addition to
               7
                    filing fees, service process fees, motion fees, fees for copies, etc. Attached hereto as
               8
                    Exhibit “10” are true and correct copies of check numbers 5918 and 5919 dated January
               9
                    27, 2020 made payable to my firm for $23,333.33 and $3,650, respectively.
               10
                           B.     Attached hereto as Exhibit “11” is a true and correct copy of check number
               11
                    5993 in the amount of $17,500 paid to Beverly Hills Center for Arthroscopic and
               12
                    Outpatient Surgery. Please note that on December 11, 2013, Dr. Namazikhah had surgery
               13
                    for his left shoulder as a result of a prior injury, performed by the same medical group that
               14
                    operated on his right shoulder as a result of the incident at International Coffee Bean &
               15
                    Teal Leaf. There were funds remaining on deposit in my client trust account from the
               16
                    previous case, so my firm resolved all liens for both cases and paid Beverly Hills Center
               17
                    for Arthroscopic and Outpatient Surgery the sum of $17,500, and therefore, there was no
               18
                    existing or open bill with the surgeon. The memo portion of the check (Exhibit “5”) also
               19
                    indicates that said check is full and final payment for both cases.
               20
                           C.     In addition, both surgeries undergone by Dr. Namazikhah required the
               21
                    services of an anesthesiologist, whom was Shirin Hekmat. Ms. Hekmat accepted and was
               22
                    paid $800 for both cases, thereby satisfying all open bills Dr. Namazikhah had with her.
               23
                    Attached hereto as Exhibit “12” is a true and correct copy of check number 5992 dated
               24
                    February 20, 2020.
               25
                           D.     During discussions with Dr. Namazikhah, he indicated that when his left
               26
                    shoulder was injured in the past and he sought rehabilitative treatment after surgery, that
               27
                    physical therapy gave him little relief, and therefore he wished to pursue an alternative
               28

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                    treatment plan and believed that he would reach greater progress with acupuncture
               1
                    treatment. I could attest to this opinion because I have had other clients indicate the same
               2
                    to me. Dr. Elham Mahooz was paid a sum of $17,900 for her acupuncture services
               3
                    rendered to Dr. Namazikhah during a period in excess of 2 years. Dr. Mahooz’s bills were
               4
                    originally $22,925, but she agreed to reduce the bills to a lower sum and accepted $17,900,
               5
                    which were paid to her with 2 checks. Attached hereto as Exhibit “13” are true and
               6
                    correct copies of check number 6008 for $12,000 and check number 6005 for $5,900. The
               7
                    reason Dr. Mahooz was given 2 checks is because my firm incorrectly believed that we
               8
                    had the final bill when $12,000 was paid, but in fact an additional bill required an
               9
                    additional payment.
               10
                           At this time, I would like to address something raised by Nancy Zamora in a
               11
                    conversation between Ms. Zamora, Ray Aver, and myself. During this 3-person
               12
                    conversation, Ms. Zamora stated that the second check given to Dr. Elham Mahooz, check
               13
                    number 6005 in the sum of $5,900 was payable to “Elham Mahooz” rather than “Dr.
               14
                    Elham Mahooz”, and Ms. Zamora found such difference in payee to be very suspicious. It
               15
                    is unclear to me why this is suspicious. Upon review of both checks, they were both
               16
                    endorsed with the same signature and both checks cleared my client trust account. It is
               17
                    clear that my firm did not retain the monies and that the funds were disbursed to Dr.
               18
                    Mahooz.
               19
                           E.     Lastly, of the $70,000 settlement draft, a disbursement in the amount of
               20
                    $5,000 was paid to Ray Aver, and $3,653.59 paid to Atkinson-Baker Court Reporter, both
               21
                    at the direction of Mr. Aver. Attached hereto as Exhibit “14” are true and correct copies
               22
                    of check numbers 5979 and 5920.
               23
                           32.    One last issue that I would like to clarify that Ms. Zamora raised is regarding
               24
                    medical liens. In personal injury cases, it is common practice that health care providers
               25
                    require the retained attorney and patient/client to execute a medical lien for services, to
               26
                    ensure payment at the time of resolution of the case, rather than relying on payments
               27
                    through Medicare or health insurance. This allows the patient/client to receive necessary
               28

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                    treatment with the benefit of delaying payment. I could attest that I have been practicing
               1
                    personal injury law for over 45 years and it is standard practice in personal injury cases
               2
                    that the primary payment of medical treatment would be obtained from the settlement
               3
                    proceeds of the case and having an attorney sign a lien promising that they will resolve the
               4
                    medical bill with the particular doctor before any funds are disbursed. Please note that in
               5
                    my firm, and which is also true for other attorneys that practice personal injury, a working
               6
                    relationship is established between the health care provider and the handling attorney in
               7
                    personal injury cases. The reason the health care providers do not use Medicare is because
               8
                    Medicare heavily discounts any service provided and thus the doctor would only receive
               9
                    payment of 10-15% of the bill for services rendered to the patient/client. Thus, it is not
               10
                    economical for the doctor to look to Medicare as a primary source of payment. As to
               11
                    taking health insurance, the client, in many cases, does not have health insurance and
               12
                    therefore most doctors do not think about that unless there is a unique situation. These are
               13
                    the reasons obtaining payment from the settlement of the case makes the most economic
               14
                    sense. Accordingly, Dr. Namazikhah’s medical bills incurred as a result of the injuries he
               15
                    suffered were paid from the proceeds of the settlement of the lawsuit.
               16
                           33.    I believe that my firm and I acted properly at all times and obtained an
               17
                    excellent resolution in the Second Personal Injury Matter. I relied on Mr. Aver for
               18
                    disbursement of the settlement proceeds and believe that I did not commit any
               19
                    wrongdoing, especially since all persons Dr. Namazikhah had an obligation to, were paid
               20
                    and all bills were resolved.
               21
               22
                           I declare under penalty of perjury under the laws of the United States of America
               23
                    that the foregoing is true and correct.
               24
                           Executed December 6, 2021, at Los Angeles, California.
               25
               26
               27                                                 By: _ ____                     _______
                                                                                 Robert Hindin
               28                                                                 Declarant

RESNIK HAYES
 MORADI LLP
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                         EXHIBIT A
                                                                      Ex A- 1
Case
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                       CURRICULUM VITAE OF ROBERT MARC HINDIN



           Robert Marc Hindin was first admitted to the California State Bar in December 1975.
   Presently, he is the principal in a small law firm specializing in the field of business litigation and
   real estate. In addition, he has actively practiced in the areas of family law and personal injury.
   Prior to 2008, he as named partner of the firm Hindin & Abel, LLP, wherein he practiced for
   over twenty-five years.

          Mr. Hindin is experienced in tort litigation of all typest both from the plaintiffs and
   defendants perspective. Mr. Hindin has also participated in well over 100 mediations of tort,
   personal injury and business cases.

           Mr. Hindin's family law practice is limited to high-end divorces involving business and
   real estate matters as a natural outgrowth of his expertise in those areas. Mr. Hindin is also
   currently involved in over 300 personal injury cases.

         Mr. Hindin has participated in over 150 trials, both jury and bench. He has either been
  lead counsel or co-counsel on eleven (11) appeals. He has personally argued eight (8) separate
  appeals before the appellate court. Mr. Hindin has extensive experience in law and motion,
  discovery, arbitrations and meditations, besides the above-referenced trial work. His appellate
  work has resulted in the creation of new law. One of these cases was Marriage ofAmato.
  Additionally, in the past, his firm has settled at least three multi-million dollar cases in the field
  of unlawful termination and also numerous personal injury actions in six-figure settlements.

         Mr. Hindin graduated from the University of Arizona in 1971 with two separate degrees,
  a Bachelor of Arts with a major in Philosophy and a Bachelor in Science in Psychology. Mr.
  Hindin attended Western State University College of Law in 1975, and was a member of the Law
  Review. He was a recipient of the Cal Jur Criminal Law Award in Law school for criminal law.

         Privately, Mr. Hindin was a member of the Board of Directors of Bnai Brith for six years,
  involving him in numerous charities relating to said organization. Since becoming an attorney,
  Mr. Hindin has taken extensive continuing education courses and have given several lectures
  regarding real estate and business litigation.




                                                                                                  Ex A- 2
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                          EXHIBIT 1

                                                                      Ex 1- 3
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                                                                       Ex 1- 4
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                          EXHIBIT 2

                                                                      Ex 2- 5
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                             ROBE RT HI NDIN & ASSOCIATES, APLC
                                                 ATTORNEYS AT LAW
                                                 WESTSIDE TOWERS
                                11845 WEST OLYMPIC BOULEVARD, SUITE 1245
                                    LOS ANGELES, CALIFORNIA 90064
                                              TELEPHONE(310)473-0337
                                              FACSIMILE (310) 478-2270


                                      CONTINGENCY FEEAGREEMENT
                                           , .
THIS IS AN AGREEMENT between �;...,<;..:�--d-.:::..:._:=---'-'-------=---,"--\.;.--'---____..:.---f---'��"i'-fFf-=....:i----
hereinafter referred to as "Client" and RO
as "Firm", entered into on the date set forth below.

1.       MATTER COVERED: Client retains and employs Firm, and Firm hereby agrees to represent
         Client in connection with Client's claim for damages, injury or loss arising out of the following
         occurrence:

                                      ���
                                       �/it--r_,,          {{ I   yd t ?    •
                                                                                                         Initial�

2.       SERVICES TO BE PERFORMED BY THE FIRM: Firm agrees to perform the foJlowing
         legal services if necessary in representing Client: investigation of claim, determining responsible
         parties, preparation and filing of lawsuit, arbitration, or prosecution of lawsuit to judgment in the
         trial court. Further, in the event a judgment is returned in Client's favor, Firm shall represent client
         in opposing any motion for new trial.

        No other services, however, are covered by this Agreement. It is specifical ly understood that in the
        event a judgment is not returned in Client's favor in the trial court, or that the amount of the
        judgment is unsatisfactory to Clien�, Finn shall not be obligated to prosecute a motion for new trial
        without further fee arrangements between the parties. Likewise in the event either party appeals
        from any judgment rendered by the trial court Firm shall not be obligated to render services in
        connection with the appeal without additional compensation.

                                                                                                         Initial   A · ). J!l
3.       CONTINGENCY FEE: Client acknowledges that she has been advised by Firm that any
         contingency fee for this kind of case is negotiable and is not set by law.
         Client agrees to pay Firm a contingency fee as follows:

         An amount equal to thirty-three and one-third per cent (33.33%) of the gross sum received in
         settlement or compromise of Client's claim before a lawsuit is filed. Thereafter, an amount equal to
         forty per cent (40%) of the gross sum, recovered, whether such recovery is by way of settlement,

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                                                                                                          Ex 2- 6
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        compromise, judgment, or elected or mandatory mediation or arbitration.

        For example if the gross settlement before a lawsuit is filed is $1,000, the Firm contingency fee
        would be $333.33. If recovery is after a lawsuit is filed, the fee would be $400.00.

                                                                                            Initial M tz,�
                                                                                                             _ -�


        If a fee dispute arises between you and this firm and litigation is commenced to resolve the
        dispute, the prevailing parties shall be entitled to reasonable Firm fees.

                                                                                            Initial   lilJ/
4       COSTS AND DISBURSEMENTS: Client is depositing with Firm the sum of -0- to cover the
        initial investigative costs; however, Firm is not representing that this will be the actual cost, it
        could be less or more. Client agrees to pay all costs and disbursements incurred by Firm and
        reasonably required for the preparation and prosecution of legal action on Client's claim if there is
        a recovery. This includes, without limitation, fees for filing, service of process, depositions,
        investigator fees, photo-copying at .25/pg, jury fees, expert witnesses, consultants, witness fees,
        messenger service, long distance phone calls, postage, fax transmissions @ $1.00/page, and travel
        expenses.

        In the event Client fails to pay any of the costs and disbursements aforesaid, Firm may (but
        is not obligated to) advance and pay same on Client's behalf. But any such payments shall
        be repaid to Firm by Client upon demand, and without regard to the outcome of the legal
        action on Client's claim.
                                                                                                               /
                                                                                            Initial   !ft:t1/
5.      RECOVERY AND FIRM'S LIEN: Client expressly agrees that any recovery check, whether by
        settlement, compromise, arbitration, or judgment, shall be made out jointly to Client and Firm.
               Client authorizes the Firm to endorse the settlement or recovery check and deposit
               that check into Firm's Client Trust Fund Account.                                        [
                                                                                           Initial )1? ✓

        When the check has been cleared by the bank, disbursement shall take place, including the
        disbursement of the appropriate Firm fees. Client hereby grants Firm a lien on Client's claim and
        any cause of action filed thereon to secure payment to Firm of all sums due under this Agreement
        for legal services rendered and costs advanced, if any.



6.      ROBERT IDNDIN & ASSOCIATES, APLC will carry prime responsibility for all the
        litigation. By signing this agreement you expressly authorize ROBERT HINDIN &
        ASSOCIATES, APLC to associate other counsel or law clerks, the cost of which shall be the sole
        liability of Firm.


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                                                                                               Ex 2- 7
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                                                                               Initial � �
         COPY RECEIVED BY CLIENT: Client acknowledges receipt of a copy of this agreement
                                                                                                                v'
7.


                                                                                                          M?J
         concurrently with Client's execution thereof.

                                                                                               Initial

8.       WARRANTIES REGARDING OUTCOME OF CASE: It is expressly understood that the
         Firm is not guaranteeing the success or the likely outcome in this case.

                                                                                               Initial   Atlrii
9.       TERMINATION OF REPRESENTATION: Client may discharge Firm with or without cause
         at any time; but Client agrees to pay Firm the reasonable value of its services at the rate of $400.00
         per hour if Client does discharge Firm, or Firm's contingency fee, if settlement, arbitration, or trial
         results in recovery within a reasonable time of Firm's discharge.

10.      ERRORS AND OMISSIONS: Client is aware that Robert Hindin & Associates, APLC carries no
         professional liability insurance.

                                                                                               Initial   dtf:;J/
Dated:�-              ltl    ").D(�                             Dated:




                                                                Client-




                                                  Page 3 of 3


                                                                                                 Ex 2- 8
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                          EXHIBIT 3

                                                                           Ex 3- 9
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 1   Robert Marc Hindin;.. E�q� SBN 64 793
     Snow Vuong, Esq., �BN L.31513
 2   ROBERT HINDIN & ASSOCIATES, APLC
     11835 W. Olympic Blvd., Suite 1090
 3   Los Angeles, CA 90064
     T. 310/473-0337
 4   F. 310/478-2270
 5   Attorneys for Plaintiff
     MOHAMMAD SADEGH NAMAZIKHAH
 6
 7
 8                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                       IN AND FOR THE COUNTY OF LOS ANGELES
10                 CENTRAL DISTRICT - STANLEY MOSK COURTHOUSE
11    MOHAM:MAD SADEGH                                  Case No.:
      NAMAZIKHAH, an individual,                        [Unlimited Jurisdiction]
12
                    Plaintiff,                          Hon.
13                                                      Dept.:
             vs.
14                                                      COMPLAINT FOR DAMAGES
      DELBERT HOLLAND an individual;                    (NEGLIGENCE)
15    and DOES I through 20, inclusive,
16
                    Defendants.
17
18
19
20          Plaintiff Mohammad Sadegh Namazikhah, an individual, alleges:
21          1.     That the accident hereinafter described took place in the County of Los
22   Angeles, State of California.
23          2.     Plaintiff Mohammad Sadegh Namazikhah, an individual, is, and at all relevant
24   times herein, was, an individual of competent age and capacity, and a resident of the County
25   of Los Angeles, State of California.
26          3.     Plaintiff is informed and believes and thereon alleges that Defendant Delbert
27   Holland, an individual, is, and at all relevant times herein, was, a resident of the County of
28   Los Angeles, State of California, and was the driver and registered owner of a vehicle that

                                                 1
                                       COMPLAINT FOR DAMAGES


                                                                                      Ex 3- 10
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 1   was involved in a collision that is the subject matter of this lawsuit.
2           4.     Jurisdiction is proper in the Los Angeles County Superior Court of the State of
 3   California under California Code of Civil Procedure Section 410.10. The amount in
4    controversy exceeds $25,000.00.
5           5.     Venue is proper in Los Angeles County, California, Central District, under
6    California Code of Civil Procedure Section 395(a) and (b), because the acts and omissions
 7   out of which this action arises occurred within this County and venue and judicial district.
8           6.     That the true names or capacities, whether individual, corporate, associate or
9    otherwise of Defendants DOES 1 through 20, inclusive, are presently unknown to Plaintiff,
10   who therefore sues said Defendants by such fictitious names. Plaintiff is informed and
11   believes and thereon alleges that each of the fictitiously named defendants designated herein
12   is responsible in some manner for the events and occurrences alleged herein, and have caused
13   injury and damage to Plaintiff as herein alleged.
14          7.     Plaintiff is informed and believes and thereon alleges that, at all times herein
15   mentioned, each of the named Defendants, including the DOE defendants, were the
16   principals, agents, servants, partners, joint venturers, shareholders, investors, employees,
17   independent contractors, designated representatives, alter egos, and/or other authorized
18   persons or entities of each of the other remaining defendants, and were negligent in the
19   selection, hiring and supervision of the other defendants, and in doing the things herein
20   alleged, was acting within the course and scope of such agency, agreement, or employment in
21   furtherance of such agency and/or employment and with the full knowledge, approval,
22   agreement, permission, consent, ratification, either express or implied, of each of the
23   remaining defendants, and are therefore, liable, vicariously and/or otherwise, jointly and
24   severally, for the damages and injuries that they caused Plaintiff.
25          8.     At all times herein mentioned, Topanga Canyon Boulevard at the intersection
26   of Strathem Street is, and was, a public thoroughfare in the County of Los Angeles, State of
27   California.
28          9.      On or about December 11, 2013, Plaintiff Mohammad Sadegh Namazikhah, an

                                                  2
                                        COMPLAINT FOR DAMAGES


                                                                                      Ex 3- 11
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 1   individual, was operating a vehicle, traveling northbound on Topanga Canyon Boulevard, in
 2   the City of Los Angeles, County of Los Angeles, State of California.
 3          10.    Plaintiff is informed and believes and thereon alleges that at all times herein
4    mentioned, Defendant Delbert Holland, an individual, and Does 1 through 20, inclusive, and
 5   each of them, were operating a vehicle, owned by Delbert Holland and Does 1 through 20,
 6   inclusive, also traveling northbound on Topanga Canyon Boulevard, in the County of Los
 7   Angeles, State of California.
8           11.    At the time and place aforesaid, Defendants, and each of them, so negligently,
 9   carelessly, recklessly, wantonly, and unlawfully drove, operated, maintained, conducted,
10   controlled and entrusted said respective vehicle as to directly and substantially cause the
11   vehicle operated by Defendant Delbert Holland to collide into Plaintiffs vehicle when said
12   Defendant drove at an unsafe speed, thereby colliding into the rear of Plaintiffs vehicle
13   while being operated by Plaintiff Mohammad Sadegh Namazikhah.
14          12.    As a direct and substantial result of the negligence, carelessness, recklessness,
15   wantonness and unlawfulness of Defendants, and each of them, and the incident, as
16   aforesaid, Plaintiff Mohammad Sadegh Namazikhah sustained severe and serious injuries to
17   his person, all to Plaintiffs damage, in an amount that exceeds the minimum jurisdictional
18   requirements of this Court, according to proof at trial.
19          13.    By reason of the foregoing, Plaintiff has been required to employ the services
20   of hospitals, physicians, surgeons, nurses and other professional services and Plaintiff has
21   been compelled to incur expenses for ambulance service, machines, x-rays and other medical
22   supplies and services. Plaintiff is informed and believes, and thereon alleges, that further
23   services of said nature will be required by Plaintiff in an amount that exceeds the minimum
24   jurisdictional requirements of this Court, according to proof at trial.
25          14.    That as a further direct and substantial result of the aforesaid conduct of
26   Defendants, and each of them, the aforementioned vehicle and other property owned and
27   used by Plaintiff were damaged; and Plaintiff, thereafter, was denied the use of said vehicle
28   and other property, to Plaintiffs further damage; all in amounts that exceed the minimum

                                                  3
                                        COMPLAINT FOR DAMAGES


                                                                                      Ex 3- 12
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 1   jurisdictional requirements of this Court, according to proof at trial.
 2          15.    By reason of the foregoing, Plaintiff has lost time from his employment as a
 3   result of the injuries he sustained that was directly and substantially the result of the incident
 4   that is the subject matter of this lawsuit. Plaintiff is informed and believes, and thereon
 5   alleges, that he will require additional absence from his employment in the future as a result
 6   of the subject collision, all to his detriment and damage, and in an amount that exceeds the
 7   minimum jurisdictional requirements of this Court, according to proof at trial.
 8          WHEREFORE, Plaintiff Mohammad Sadegh Namazikhah, an individual, prays for
 9   judgment against Defendants Delbert Holland, an individual; and Does 1 through 20,
10   inclusive, and each of them, as follows:
11          1.     General damages in a sum according to proof;
12          2.     Sums incurred and to be incurred for services of hospitals, physicians,
13                 professional services, medical supplies and services;
14          3.     Sums for loss wages and earnings;
15          4.     Sums for property damage;
16          5.     For interest provided by law including, but not limited to, California Civil Code
17                  § 3291;
18          6.     Costs of suit incurred herein; and,
19          7.     For such other and further relief as the court deems proper.
20
21   DATED: December 9, 2015                     ROBERT HINDfN & ASSOCIATES, APLC
22
23
                                                 Robert Marc Hmdm
24                                               Snow Vuong
                                                 Attorneys for Plaintiff,
25                                               Mohammd Sadegh N amazikhah
26
27
28

                                                  4
                                        COMPLAINT FOR DAMAGES


                                                                                        Ex 3- 13
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    1 Ronald Zurek [Bar No. 078701]
        rzzwek@1-vzllp.com
    2 WESIElfSKI & ZUREK LLP
      1000 Wilshire Boulevard, Suite 1750
    3 Los Angeles California 90017
      Telephone: (213) 627-2J0Q
    4 Facsimile: (213) 629-272_5
    5 Attorneys for Defendant, Delbert Holland
    6
    7
    8                           SUPERIOR COURT OF THE StATE OF CALIFORNIA
    9                           COUNTY OF LOS ANGELES, CENTRAL DISTRICT
   10
   U MOHAMMAD SADEGH                                         CASE NO; BC609141
      NAMAZIKHAH, an iudi_vidual,
   12                                                        DEMAND FOR PHYSICAL
              'Plaintiff,                                    EXAMINATION
                                                             [Code Civ� Proc. '§ 2032.20]
                                                             JUDGE HOLLY J. FlJ11E
      DELBERT HOLLAND, an individual; and                    DEPT. 98
   15 DOES 1 through 20, inclusive,
                                                             Action Filed:      December 9 2015
   16                         Detendant.
                                                             FSC Date:          May 24, 2,0 l 7
   17                                                        Time:              10:DO a.m.
                                                             Dpt:               9g
   18
                                                             Trial Date:        June. 9, 2017
   19                                                        Time:              8:30 a.trt.
                                                             Dpt:               98
   20
   Zl
   22
   23 TO PLAINTIFF MOHAMMAD SADEGH NAMAZIKHAB:
   24
   25             Defendant does hereby demand, pursuant to Code o_f'.Civil Procedure,-�ti_on
   26 2032.20, that you undergo a physical examination, as follows.
   27
   28             The examination shall take place on April 6, 2017 at 12:00 p.tt1, at the office of

                                                         l
        L0llf;:t7-1 MER-4SH                                                                Ex 3- 14
                                                                     DE fAND FOR PHYSlCAL EXAJvJJNATlO
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                         1 Steven Nagelberg, M.D., 10800 Paramount Blvd., Suite 204A, Downey, CA 90241.,
                         2
                         3              Di-; Nagelberg is, an orthqpedic surgeon. He Will 111idertake -a cornp'lete·exa1J1irtatfon.
                         4 The examination will be done by Dr. Nagelberg and his usual office personnel. It will
                         5 include a complete history relevant to the injury claims in this case, covering time periods
                         6 before and after the subject accident X�ray examination may "be requested. Plaintiff,,
                         '1 should bring current x-rays ifnew ones aren't allowed. There wiil be: no invasive testing
                         8 withollt permissic;ui of the plaintiff
                         9
                                        Please note that a written response to this demaiid is·-required ·under Code.ofGivi/
                       11 Procedure section 2032:20 in advance of the examination date.
d�--       �-
           �!::
           �.§
                       12
�        6� f lJ               DATED: March IQ 2017                       \vESIERSKl & ZUREK LLP
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LL.I       ,l: (!)

                       16                                                       Ronald Zurek
                       17                                                       Attorneys for :Defend�nt, Oelb�rt Holland

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                                                                                           DEMAND FOR PHYS[CAL EXAMINATION
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                                                                                                                                DISC-001
    AlTORNEY OR PARTY WIDIOUT ATTORNEY (Nan». Stale 8/JI number, fJMJ eddrass/:
       ROBERT HINDIN, ESQ.; SBN 64793
.,..._ ROBERT HINDIN & ASSOCIATES, APLC
       11835 WEST OLYMPIC BOU LEVARD SUITE I 090
       LOS ANGELES, CA 90064
     TB.EPHONENO.: (310) 473-0337
     FAXHO.(Opl/o,WJ: (310)478-2270
     E•MAllADDRESS {OpljonllJ: ROBERT@ROBERTHINDINLAW.COM
    ATTORNEYFOR(Name/: MOHAMMAD SADEGH NAMAZIKHAH
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF                  LOS ANGELES
  111 NORTH HILL STREET, LOS ANGELES, CA 90012
  CENTRAL DISTRICT- STANLEY MOSK
  SHORT TITLE OF CASE:
  NAMAZIKHAH V. HOLLAND
                                   FORM INTERROGATORIEs-GENERAL                                CASE NUMBER:
         Asking Party:      MOHAMMAD NAMAZIKHAH                                                               BC609141
     Answering Party:       DELBERT HOLLAND
             Set No.:       1
Sec. 1. Instructions to All Parties                                {c) Each answer must be as complete and straightforward
(a) Interrogatories are written questions prepared by a party      as the information reasonably available to you, including the
to an action that are sent to any other party in the action to be  information possessed by your attorneys or agents, pennits. If
answered under oath. The interrogatories below are fonn            an interrogatory cannot be answered completely, answer it to
interrogatories approved for use in civil cases.                   the extent possible.
(b) For time limitations, requirements for service on other        (d) If you do not have enough personal knowledge to fully
parties, and other details, see Code of Civil Procedure            answer an interrogatory, say so, but make a reasonable and
sections 2030.01�2030.410 and the cases construing those           good faith effort to get the information by asking other persons
sections.                                                          or organizations, unless the infonnation is equ$lly available to
(c) These form Interrogatories do not change existing law          the asking party.
relating to interrogatories nor do they affect an answering        {e) Whenever an Interrogatory may be answered by
party's right to assert any privilege or make any objection.       referring to a document, the document may be attached as an
                                                                   exhibit to the response and referred to in the response. If the
Sec. 2. Instructions to the Asking Party                           document has more than one page, refer to the page and
(a) These interrogatories are designed for optional use by         section where the answer to the interrogatory can be found.
parties in unlimited civil cases where the amount demanded         (f) Whenever an address and telephone number for the
exceeds $25,000. Separate Interrogatories, Form                    same person are requested in more than one Interrogatory,
/nterrogatorles-Llmlted CM/ Cases (Economic Utigation)             you are required to furnish them in answering only the first
(form DISC-004), which have no subparts, are designed for          interrogatory asking for that infonnalion.
use in limited civil cases where the amount demanded is
$25,000 or less; however, those interrogatories may also be        (g) If you are asserting a privilege or making an objection to
used in unlimited civil cases.                                     an  interrogatory, you must specifically assert the privilege or
(b) Check the box next to each Interrogatory that you want         state the objectlon in your written response.
the answering party to answer. Use care in choosing those          (h) Your answers to these interrogatories must be verified,
interrogatories that are applicable to the case.                   dated, and signed. You may wish to use the following fonn at
(c) You may insert your own definition of INCIDENT in              the end of your answers:
Section 4, but only where the action arises from a course of             I declare under penalty of perjury under the laws of the
conduct or a series of events occurring over a period of time.     State of California that tha foregoing answen; are true and
(d) The Interrogatories in section 16.0, Defendant's               correct.
Contentions-Personal Injury, should not be used until the
defendant has had a reasonable opportunity to conduct an                     (DATE)                          (SIGNAnJREJ
 investigation or discovery of plaintiffs injuries and damages.
 (e) Additional interrogatories may be attached.                    Sec. 4. Definitions
Sec. 3. Instructions to the Answering Party                             Words in BOLDFACE CAPITALS in these interrogatories
 (a) An answer or other appropriate response must be                are defined as follows:
 given to each interrogatory checked by the asking party.               (a) (Check one of the following):
 {b) As a general rule, within 30 days after you are served             0 (1) INCIDENT includes the circumstances and
with these interrogatories, you must serve your responses on                   events surrounding the alleged accident, injury, or
the asking party and serve copies of your responses on all                     other occurrence or breach of contract giving rise to
 other parties to the action who have appeared. See Code of                    this action or proceeding.
 Civll Procedure sections 2030.260-2030.270 for details.
                                                                                                                                  Page1 of&
  Form Approved far 0pUanal \Jae                                                                                       Code of CMl Pnialdunt,
    Judldll Council of Callfamia                    FORM INTERROGATORIEs-GENERAL                                H 2030.01o.a30.410, 2Cm.710
  Dl8C-<101 [Rev, Januay 1, 2008)                                                                                         __..,,...,ca.ga,,


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                                                                                                                     DISC-001
D    (2) INCIDENT means (insert your definition here or              1.0 Identity of Persons Answering These Interrogatories
         on a separate, attached sheet labeled "Sec.
         4(a){2)"):
                                                                     0 1.1 State the name, ADDRESS, telephone number,            and
                                                                         relationship to you of each PERSON who prepared or
                                                                         assisted in the preparation of the responses to these
                                                                         interrogatories. (Do not identify anyone who simply typed or
                                                                         reproduced the responses.)
                                                                     2.0 General Background lnfonnatlon-individual
(b) YOU OR ANYONE ACTING ON YOUR BEHALF
Includes you, your agents, your employees, your Insurance
                                                                     0   2.1 State:
                                                                         (a) your name;
companies, their agents, their employees, your attorneys, your           (b) every name you have used in the past; and
accountants, your investigators, and anyone else acting on               (c) the dates you used each name.
your behalf.
(c) PERSON includes a natural person, firm, association,             0 2.2 State the date and place of your birth.
organization, partnership, business, trust, limited liability
company, corporation, or public entity.
                                                                     0 2.3 At the time of the INCIDENT, did you have a driver's
                                                                         license? If so state:
(d) DOCUMENT means a writing, as defined in Evidence                     (a) the state or other issuing entity;
Code section 250, and Includes the original or a copy of                 (b) the license number and type;
handwriting, typewriting, printing, photostats, photographs,             (c) the date of issuance; and
electronically stored information, and every other means of              (d) all restridions.
recording upon any tangible thing and form of communicating
or representation, lndudlng letters, words, pidures, sounds, or
                                                                     0 2.4 At the time of the INCIDENT, did you have any other
                                                                         permit or license for the operation of a motor vehicle? If so,
symbols, or combinations of them.                                        state:
(e) HEALTH CARE PROVIDER includes any PERSON                             (a) the state or other issuing entity;
referred to in Code of Civil Procedure section 667.7(e)(3).              (b) the license number and type;
                                                                         (c) the date of issuance; and
(f) ADDRESS means the street address, including the city,                (d) all restrictions.
state, and zip code.
Sec. 5. Interrogatories
                                                                     0 2.5State:
                                                                         (a) your present residence ADDRESS;
The foOowing interrogatories have been approved by the                   (b) your residence ADDRESSES for the past five years; and
Judicial Council under Code of Civil Procedure section 2033. 71 O:       (c) the dates you lived at each ADDRESS.
                           CONTENTS
     1.0 Identity of Persons Answering These Interrogatories
                                                                     0 2.6State:
                                                                         (a) the name, ADDRESS, and telephone number of your
     2.0 General Background Information-Individual                           present employer or place of self-employment; and
     3.0 General Background Information-Business Entity                  (b) the name, ADDRESS, dates of employment, job tifle,
     4.0 Insurance                                                           and nature of work for each employer or
     5.0 [Reserved]                                                          self-employment you have had from five years before
     6.0 Physical, Mental, or Emotional Injuries                             the INCIDENT until today.
     7.0 Property Damage
     8.0 Loss of Income or Earning Capacity                          0 2.7 State:
     9.0 Other Damages                                                    (a) the name and ADDRESS of each school or other
    10.0 Medical History                                                      academic or vocational institution you have attended,
    11.0 Other Claims and Previous Claims                                     beginning with high school;
    12.0 Investigation-General                                            (b) the dates you attended;
    13.0 Investigation-Surveillance                                       (c) the highest grade level you have completed; and
    14.0 Statutory or Regulatory Violations                               (d) the degrees received.
    15.0 Denials and Special or Affirmative Defenses
    16.0 Defendant's Contentions Personal Injury                     0 2.8     Have you ever been convided of a felony? If so, for
    17.0 Responses to Request for Admissions                              each conviction state:
    18.0 [ReseNed]                                                        (a) the city and state where you were convided;
    19.0 [Reserved]                                                       (b) the date of conviction;
    20.0 How the Incident Occurred-Motor Vehicle                          (c) the offense; and
    25.0 [Reserved]                                                       (d) the court and case number.
    30.0 [Reserved]
    40.0 [Reserved]
    50.0 Contract
                                                                     0 2.9    Can you speak English with ease? If not, what
                                                                          language and dialect do you normally use?
    60.0 [ReseN&d]
    70.0 Unlawful Detainer [See separate form DISC-003]
   101.0 Economic Litigation {See separate form DISC-004]
                                                                     0 2.10 Can you read and write English with ease? If not, what
                                                                          language and dialect do you normally use?
   200.0 Employment Law [See separate form DISC-002]
          Family Law [See separate form FL-145}
OISc-001 (Rev. Janua,y 1, 2008]
                                              FORM INTERROGATORIEs-GENERAL

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                                                                                                                              DISC-001
0 2.11 At the time of the INCIDENT were you acting as an D                     3.4 Are you a joint venture? If so, state:
      agent or employee for any PERSON? lfso, state:                           (a) the current joint venture name;
      (a) the name, ADDRESS, and telephone number of that                      (b) all other names used by the joint venture during the
          PERSON: and                                                              past 10 years and the dates each was used;
      (b) a description of your duties.                                        (c) the name and ADDRESS of each joint venturer; and
                                                                               (d) the ADDRESS of the principal place of business.
0     2.12 At the time of the INCIDENT did you or any other
                                                                           D   3.5 Are you an unincorporated association?
      person have any physical, emotional, or mental disability or
      condition that may have contributed to the occurrence of the             If so, state:
      INCIDENT? If so, for each person state:                                  (a) the current unincorporated association name:
      (a) the name, ADDRESS, and telephone number;                             (b) all other names used by the unincorporated association
      (b) the nature of the dlsabDity or condition; and                             during the past 1 O years and the dates each was used;
      (c) the manner In which the disability or condition                           and
          contributed to the occurrence of the INCIDENT.                       (c) the ADDRESS of the principal place of business.
0     2.13 Within 24 hours before the INCIDENT did you or any              D   3.6 Have you done business under a fictitious name during
                                                                               the past 1 O years? If so, for each fictitious name stale:
      person involved in the INCIDENT use or take any of the
      following substances: alcoholic beverage, marijuana, or                  (a) the name;
      other drug or medication of any kind (prescription or not)? If           (b) the dates each was used;
      so, for each person state:                                               (c) the state and county of each fictitious name filing; and
      (a) the name, ADDRESS, and telephone number;                             (d) the ADDRESS of the principal place of business.
      (b) the nature or description of each substance;
      (c) the quantity of each substance used or taken:                    D   3. 7 Within the past five years has any public entity regis­
      (d) the date and time of day when each substance was used                tered or licensed your business? If so, for each Ucense or
           or taken;                                                           registration:
      (e) the ADDRESS where each substance was used or                         (a) identify the license or registration;
           taken:                                                              (b) state the name of lhe public entity; and
      (f) the name, ADDRESS, and telephone number of each                      (c) state the dates of issuance and expiration.
           person who was present when each substance was used
           or taken; end
      (g) the name, ADDRESS, and telephone number of any                   4.0 Insurance
           HEALTH CARE PROVIDER who prescribed or furnished                � 4.1 At the time of the INCIDENT, was there in effect any
           the substance and the condition for which It was                     policy of insurance through which you were or might be
           prescribed or furnished.                                             Insured in any manner (for example, primary, pro-rata, or
                                                                               excess liability coverage or medical expense coverage) for
3.0 General Background Information-Business Entity                              the damages, claims, or actions that have arisen out of the
D   3.1 Are you a corporation? If so, state:                                    INCIDENT? If so, for each policy state:
    (a) the name stated in the current articles of incorporation;               (a) the kind of coverage;
    (b) all other names used by the corporation during the past                 (b) the name and ADDRESS of the Insurance company;
        10 years and the dates each was used;                                   (c) the name, ADDRESS, and telephone number of each
    (c) the date and place of incorporation;                                         named insured;
    (d) the ADDRESS of the principal place of business; and                     (d) the policy number;
    (e) whether you are qualified to do business in California.                 (e) the limits of coverage for each type of coverage con­
                                                                                     tained in the policy;
D     3.2 Are you a partnership? If so, state:                                  (f) whether any reservation of rights or controversy or
      (a) the current partnership name:                                              coverage dispute exists between you and the insurance
      (b) all other names used by the partnership during the past                    company; and
          10 years and the dates each was used;                                  (g) the name, ADDRESS, and telephone number of the
      (c) whether you are a limited partnership and, if so, under                    custodian of the policy.
          the laws of what jurisdiction;
      (d) the name and ADDRESS of each general partner; and                0    4.2 Are you self-Insured under any statute for the damages,
      (e) the ADDRESS of the principal place of business.                       claims, or actions that have arisen out of the INCIDENT? If
                                                                                so, specify the statute.
D      3.3 Are you a limited liability company? If so, state:
       (a) the name stated in the current articles of organization;        5.0 {Reserved]
       (b) all other names used by the company during the past 10
           years and the date each was used;                               6.0 Physical, Mental, or Emotional Injuries
       (c) the date and place of filing of the articles of organization;
       (d) the ADDRESS of the principal place of business: and
                                                                           D    6.1 Do you attribute any physical, mental, or emotional
                                                                                injuries to the INCIDENT? (If your answer is "no,• do not
       (e) whether you are qualified to do business in California.              answer interrogatories 6.2 through 6. 7).
                                                                           D    6.2 Identify each injury you attribute to the INCIDENT and
                                                                                the area of your body affected.

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                                                                                                                           DISC-001
D 6.3       bo you still have any complaints lhat you attribute to       (c) s�te the amount of damage you are claiming for each
     the INCIDENT? If so, for each complaint state:                          item of property and how the amount was calculated; and
     (a) a description;                                                  (d) if lhe property was sold, state the name, ADDRESS, and
     (b) whether the complaint is subsiding, remaining the same,             telephone number of the seller, the date of sale, and the
         or becoming worse; and                                              sale price.
     (c) the frequency and duration.
D    6.4 Did you receive any consultation or examination             D   7.2 Has a written estimate or evaluation been made for any
     (except from expert witnesses covered by Code of Civil              Item of property referred to In your answer to the preceding
     Procedure sections 2034.210-2034.310) or treatment from a           interrogatory? If so, for each estimate or evaluation state:
     HEALTH CARE PROVIDER for any injury you attribute to                (a) the name, ADDRESS, and telephone number of the
     the INCIDENT? If so, for each HEALTH CARE PROVIDER                       PERSON who prepared it and the date prepared;
     state:                                                              (b) the name, ADDRESS, and telephone number of each
     (a) the name, ADDRESS, and telephone number;                             PERSON who has a copy of it; and
     (b) the type of consultation, examination, or treatment             (c) the amount of damage stated.
         provided;
     (c) the dates you received consultation, examination, or
         treatment; and                                              D   7 .3 Has any item of property referred to in your answer to
     (d) the charges to date.                                            interrogatory 7.1 been repaired? If so, for each item state:
                                                                         (a) the date repaired;
0 6.5     Have you taken any medication, prescribed or not, as a
                                                                         (b) a description of the repair;
                                                                         (c) the repair cost;
     result of injuries that you attribute to the INCIDENT? If so,
     for each medication state:                                          (d) the name, ADDRESS, and telephone number of the
     (a) the name;                                                           PERSON who repaired ii;
     (b) the PERSON who prescribed or furnished it;                      (e) the name, ADDRESS, and telephone number of the
     (c) the date It was prescribed or furnished;                             PERSON who paid for the repair.
     (d) the dates you began and stopped taking it; and
     (e) the cost to date.                                           8.0 Loss of Income or Earning Capacity
                                                                     D   8.1 Do you attribute any loss of income or earning capacity
D 6.6      Are there any other medical services necessitated by          to the INCIDENT? (If your answer is •no,• do not answer
                                                                         Interrogatories 8.2 through 8.8).
     the injuries that you attribute to lhe INCIDENT that were not
     previously listed (for example, ambulance, nursing,
     prosthetics)? If so, for each service state:
     (a) the nature;
                                                                     0   8.2 State:
                                                                         (a) lhe nature of your wot1(;
     (b) the date;                                                       (b) your job tiUe at the time of the INCIDENT; and
     (c) the cost; and                                                   (c) the date your employment began.
     (d) the name, ADDRESS, and telephone number
         of each provider.                                           D   8.3 State the last date before the INCIDENT that you
                                                                         wot1(ed for compensation.
0 6.7      Has any HEALTH CARE PROVIDER advised that you
      may require future or additional treatment for any injuries    D   8.4 State your monthly income at the time of the INCIDENT
      that you attribute to the INCIDENT? If so, for each injury         and how the amount was calculated.
      state:
      (a) the name and ADDRESS of each HEALTH CARE
          PROVIDER;
                                                                     D   8.5 State the date you returned to wort< at each place of
                                                                         employment following the INCIDENT.
      (b) the complaints for which the treatment was advised; and
      (c) the nature, duration, and estimated cost of the
          treatment.
                                                                     D   8.6 State the dates you did not work and for which you lost
                                                                         income as a result of the INCIDENT.
7.0 Property Damage                                                  D   8. 7 State the total income you have lost to date as a result
D   7.1 Do you attribute any loss of or damage to a vehicle- or          of the INCIDENT and how the amount was calculated.
    other property to the INCIDENT? If so, for each item of
    property:                                                        D   8.8 Will you lose income in the future as a result of the
    (a) describe the property;                                           INCIDENT? If so, state:
    (b) describe the nature and location of the damage to lhe            (a) the facts upon which you base this contention;
        property;                                                        (b) an estimate of the amount;
                                                                         (c) an estimate of how long you will be unable to work; and
                                                                         (d) how the claim for future income Is calculated.




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9.0 Other Damages                                                         (c)   the court, names of the parties, and case number of any
D    9. 1 Are there any other damages that you attribute to the           (d)
                                                                                action filed;
                                                                                the name, ADDRESS, and telephone number of any
     INCIDENT? If so, for each item of damage state:                            attorney representing you;
     (a) the nature;
     (b) the date it occurred;                                            (e)   whether the claim or action has been resolved or is
     (c) the amount; end                                                        pending; and
     (d) the name, ADDRESS, and telephone number of each                  (f)   a description of the injury.
         PERSON to whom an obligation was incurred.
                                                                      D   11.2 In the past 10 years have you made a written claim or
                                                                          demand for workers' compensation benefits? If so, for each
D    9.2 Do any DOCUMENTS support the existence or amount                 claim or demand state:
     of any item of damages claimed in interrogatory 9.1? If so,          (a) the date, time, and place of the INCIDENT giving rise to
     describe each document and state the name, ADDRESS,                      the claim;
     and telephone number of the PERSON who has each                      (b) the name, ADDRESS, and telephone number of your
     DOCUMENT.                                                                employer at the time of the injury;
                                                                          (c) the name, ADDRESS, and telephone number of the
                                                                              workers' compensation insurer and the claim number;
10.0 Medical History                                                      {d) the period of time during which you received workers'
D   10.1 At any time before the INCIDENT did you have com­                    compensation benefits;
    plaints or injuries that involved the same part of your body          (e) a description of the injury;
    claimed to have been injured in the INCIDENT? If so, for              (f) the name, ADDRESS, and telephone number of any
    each state:                                                               HEALTH CARE PROVIDER who provided services; and
    (a) a description of the complaint or injury;                         (g) the case number at the Workers' Compensation Appeals
    (b) the dates it began and ended; and                                     Board.
    (c) the name, ADDRESS, and telephone number. of each
        HEALTH CARE PROVIDER whom you consulted or                    12.0 Investigation-General
        who examined or treated you.                                  0   12.1 State the name. ADDRESS, and telephone number of
                                                                          each individual:
0    10.2 List all physical, mental, and emotional disabilities you       (a) who witnessed the INCIDENT or the events occurring
     had immediately before the INCIDENT. (You may omit                       immediately before or after the INCIDENT;
     mental or emotional disabilities unless you attribute any            (b) who made any statement at the scene of the INCIDENT;
     mental or emotional injury to the INCIDENT.)                         (c) who heard any statements made about the INCIDENT by
                                                                              any individual at the scene; and
0    10.3 At any time after the INCIDENT, did you sustain                 (d) who YOU OR ANYONE ACTING ON YOUR BEHALF
     Injuries of the kind for which you are now claiming                      claim has knowledge of the INCIDENT (except for
     damages? If so, for each incident giving rise to an Injury               expert witnesses covered by Code of Civil Procedure
     state:                                                                   section 2034).
     (a) the date and the place it occurred;
     (b} the name, ADDRESS, and telephone number of any
          other PERSON involved;
                                                                      0   12.2 Have YOU OR ANYONE ACTING ON YOUR
                                                                          BEHALF interviewed any individual concerning the
     (c) the nature of any injuries you sustained;                        INCIDENT? If so, for each individual state:
     (d} the name, ADDRESS, and telephone number of each                  (a) the name, ADDRESS, and telephone number of the
          HEALTH CARE PROVIDER who you consulted or who                       individual interviewed;
          examined or treated you; and
                                                                          (b) the date of the interview; and
     (e) the nature of the treatment and its duration.                    (c) the name, ADDRESS, and telephone number of the
11.0 Other Claims and Previous Claims                                         PERSON who conducted the interview.
D     11.1 Except for this action, in the past 10 years have you      0   12.3     Have YOU OR ANYONE ACTING ON YOUR
      filed an action or made a written claim or demand for               BEHALF obtained a written or recorded statement from any
      compensation for your personal injuries? If so, for each            individual concerning the INCIDENT? If so, for each
      action, claim. or demand state:                                     statement state:
      (a) the date, time, and place and location (closest street          (a) the name, ADDRESS, and telephone number of the
           ADDRESS or intersection) of the INCIDENT giving rise               individual from whom the statement was obtained;
           to the action, claim, or demand;                               (b) the name, ADDRESS, and telephone number of the
      (b) the name, ADDRESS, and telephone number of each                     individual who obtained the statement;
           PERSON against whom the claim or demand was made               (c) the date the statement was obtained; and
           or the action filed;                                           (d) the name, ADDRESS, and telephone number of each
                                                                               PERSON who has the original statement or a copy.



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� 12.4 Do YOU OR ANYONE ACTING ON YOUR BEHALF                       � 13.2 Has a written report been prepared on the
  know of any photographs, films, or videotapes depicting any           surveillance? If so, for each written report state:
  place, object, or individual conceming the INCIDENT or                (a) the tide;
  plaintiffs Injuries? If so, state:                                    (b) the date;
  (a) the number of photographs or feet of film or videotape;           (c) the name, ADDRESS, and telephone number of the
  (b) the places, objects, or persons photographed, filmed, or               individual who prepared the report; and
      videotaped;                                                       (d) the name, ADDRESS, and telephone number of each
  (c) the date the photographs, films, or videotepes were                    PERSON who has the original or a copy.
      taken;                                                        14.0 Statutory or Regulatory Vlolatlons
  (d) the name, ADDRESS, and telephone number of the
      Individual taking the photographs, films, or videotapes;      @ 14.1 Do YOU OR ANYONE ACTING ON YOUR BEHALF
      and                                                               contend that any PERSON involved in the INCIDENT
  (e) the name, ADDRESS, and telephone number of each                   violated any statute, ordinance, or regulation and that the
      PERSON who has the original or a copy of the                      violation was a legal (proximate) cause of the INCIDENT? If
      photographs, films, or videotapes.                                so, identify the name, ADDRESS, and telephone number of
                                                                        each PERSON and the statute, ordinance, or regulation that
� 12.5 Do YOU OR ANYONE ACTING ON YOUR BEHAL,F                          was violated.
  know of any diagram, reproduction, or model of any place or
  thing (except for items developed by expert witnesses
                                                                    0 14.2     Was any PERSON cited or charged with a violation of
                                                                        any statute, ordinance, or regulation as a result of this
  covered by Code of Civil Procedure sections 2034.210-                 INCIDENT? If so, for each PERSON state:
  2034.310) concerning the INCIDENT? If so, for each item               (a) the name, ADDRESS, and telephone number of the
  state:
                                                                            PERSON;
  (a) the type (i.e., diagram, reproduction, or model);                 (b) the statute, ordinance, or regulation allegedly violated;
  (b) the subject matter; and                                           (c) whether the PERSON entered a plea in response to the
  (c) the name, ADDRESS, and telephone number of each                       citation or charge and, if so, the plea entered; and
      PERSON who has it.                                                (d) the name and ADDRESS of the court or administrative
0 12.6 Was a report made by any PERSON concerning the                       agency, names of the parties, and case number.
  INCIDENT? If so, state:
                                                                15.0 Denials and Special or Affirmative Defenses
  (a) the name, tltle, Identification number, and employer of
      the PERSON who made the report;                               0
                                                                    15. 1 Identify each denial of a material allegation and each
  (b) the date and type of report made;                             special or affinnative defense in your pleadings and for
  (c) the name, ADDRESS, and telephone number of the                each:
                                                                    (a) state all facts upon which you base the denial or special
      PERSON for whom the report was made; and                          or affirmative defense;
  (d) the name, ADDRESS, and telephone number of each
      PERSON who has the original or a copy of the report.          (b) state the names, ADDRESSES, and telephone numbers
                                                                         of all PERSONS who have knowledge of those facts;
0     12.7 Have YOU OR ANYONE ACTING ON YOUR
                                                                    (c)
                                                                         and
                                                                         identify all DOCUMENTS and other tangible things that
      BEHALF inspected the scene of the INCIDENT? If so, for
     each inspection state:                                              support your denial or special or affirmative defense, and
                                                                         state the name, ADDRESS, and telephone number of
      (a) the name, ADDRESS, and telephone number of the                 the PERSON who has each DOCUMENT.
            individual making the Inspection (except for expert 16.0 Defendant's Contentions-Personal Injury
           witnesses covered by Code of Civil Procedure
           sections 2034.210-2034.310); and                         0
                                                                    16.1 Do you contend that any PERSON, other than you or
      {b) the date of the inspection.                               plaintiff, contributed to the occurrence of the INCIDENT or
                                                                    the injuries or damages claimed by plaintiff? If so, for each
13.0 Investigation-Surveillance                                     PERSON:
0     13.1 Have YOU OR ANYONE ACTING ON YOUR BEHALF                 (a)  state the name, ADDRESS, and telephone number of
                                                                         the  PERSON;
      conducted surveillance of any Individual Involved in the
     INCIDENT or any party to this action? If so, for each sur­     (b) state all facts upon which you base your contention;
      velllance state:                                              (c) state the names, ADDRESSES, and telephone numbers
                                                                         of all PERSONS who have knowledge of the facts; and
      (a) the name, ADDRESS, and telephone number of the            (d) identify all DOCUMENTS and other tangible things that
           Individual or party;                                          support your contention and state the name, ADDRESS,
      (b) the time, date, and place of the surveillance;                 and telephone number of the PERSON who has each
      (c) the name, ADDRESS, and telephone number of the                  DOCUMENT or thing.
           individual who conducted the surveillance; and
      (d) the name, ADDRESS, and telephone number of each           0
                                                                    16.2 Do you contend that plaintiff was not injured in the
           PERSON who has the original or a copy of any             INCIDENT? If so:
           surveillance photograph, film, or videotape.             (a) state all facts upon which you base your contention;
                                                                    (b) state the names. ADDRESSES, and telephone numbers
                                                                         of all PERSONS who have knowledge of the facts; and
                                                                    (c) identify all DOCUMENTS and other tangible things that
                                                                         support your contention and state the name, ADDRESS,
                                                                          and telephone number of the PERSON who has each
                                                                          DOCUMENT or thing.
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@ 16.3       Do you contend that the injuries or the extent of the   0 16.8     Do you contend that any of the costs of repairing the
     Injuries claimed by plaintiff as disclosed in discovery             property damage claimed by plaintiff in discovery
     proceedings thus far in this case were not caused by the            proceedings thus far in this case were unreasonable? If so:
     INCIDENT? If so, for each injury:                                   {a) identify each cost item;
     (a) Identify it;                                                    (b) state all facts upon which you base your contention;
     (b) state all facts upon which you base your contention;            (c) state the names, ADDRESSES, and telephone numbers
     (c) state the names, ADDRESSES, and telephone numbers                   of all PERSONS who have knowledge of the facts; and
          of an PERSONS who have knowledge of the facts; and             (d) identify all DOCUMENTS and other tangible things that
     (d) Identify all DOCUMENTS and other tangible things that               support your contention and state the name, ADDRESS,
          support your contention and state the name, ADDRESS,               and telephone number of the PERSON who has each
          and telephone number of the PERSON who has each                    DOCUMENT or thing.
          DOCUMENT or thing.
0 16.4 Do you contend that any of the services furnished by          � 16.9 Do YOU OR ANYONE ACTING ON YOUR BEHALF
                                                                       have any DOCUMENT (for example, Insurance bureau
     any HEALTH CARE PROVIDER claimed by plaintiff in
     discovery proceedings thus far in this case were not due to       Index reports) concerning claims for personal injuries made
     the INCIDENT? If so:                                              before or after the INCIDENT by a plaintiff in this case? If
                                                                       so, for each plaintiff state:
     (a) identify each service;
     (b) state all facts upon which you base your contention;          (a) the source of each DOCUMENT:
     (c) slate the names, ADDRESSES, and telephone numbers             (b) the date each claim arose:
         of all PERSONS who have knowledge of the facts; and           (c) the nature of each claim; and
     (d) Identify all DOCUMENTS and other tangible things that         (d) the name, ADDRESS, and telephone number of the
          support your contention and state the name, ADDRESS,             PERSON who has each DOCUMENT.
          and telephone number of the PERSON who has each
          DOCUMENT or thing.                                         0 16.10      Do YOU OR ANYONE ACTING ON YOUR BEHALF
                                                                         have any DOCUMENT concerning the past or present
                                                                         physical, mental, or emotional condition of any plaintiff in
016.5 Do you contend that any of the costs of services                   this case from a HEALTH CARE PROVIDER not previously
 furnished by any HEALTH CARE PROVIDER claimed as                        identified (except for expert witnesses covered by Code of
 damages by plaintiff In discovery proceedings thus far in               Civil Procedure sections 2034.210-2034.310)? If so, for
 this case were not necessary or unreasonable? If so:                    each plaintiff state:
 (a) identify each cost;
                                                                         (a) the name, ADDRESS, and telephone number of each
 (b) state all facts upon which you base your contention;                    HEALTH CARE PROVIDER;
 (c) stale the names, ADDRESSES, and telephone numbers
     of all PERSONS who have knowledge of the facts; and                 (b) a description of each DOCUMENT; and
 (d) identify all DOCUMENTS and other tangible things that               (c) the name, ADDRESS, and telephone number of the
      support your contention and state the name, ADDRESS,                   PERSON who has each DOCUMENT.
      and telephone number of the PERSON who has each
      DOCUMENT or thing.                                             17.0 Responses to Request for Admissions

� 16.6 Do you contend that any part of the loss of earnings or
                                                                     0 17.1     Is your response to each request for admission served
                                                                         with these interrogatories an unqualified admission? If not,
  income claimed by plaintiff in discovery proceedings thus far          for each response that is not an unqualified admission:
  in this case was unreasonable or was not caused by the
  INCIDENT? If so:                                                       (a) state the number of the request;
  (a) identify each part of the loss;                                    (b) state all facts upon which you base your response;
  (b) stale all facts upon which you base your contention;               (c) state the names, ADDRESSES, and telephone numbers
                                                                              of all PERSONS who have knowledge of those facts;
  (c) state the names, ADDRESSES, and telephone numbers                       and
      of all PERSONS who have knowledge of the facts; and                (d) Identify all DOCUMENTS and other tangible things that
  (d) Identify all DOCUMENTS and other tangible things that                   support your response and state the name, ADDRESS,
      support your contention and slate the name, ADDRESS,                    and telephone number of the PERSON who ha& each
      and telephone number of the PERSON who has each                         DOCUMENT or thing.
      DOCUMENT or thing.
                                                                     18.0 [ReseNed]
016.7 Do you contend that any of the property damage
 claimed by plaintiff in discovery Proceedings thus far in this      19.0 [ReseNed]
 case was not caused by the INCIDENT? If so:                         20.0 How the Incident Occurred-Motor Vehicle
 (a) identify each Item of property damage;
 {b) stale all facts upon which you base your contention;            @ 20.1    State the date, time, and place of the INCIDENT
 (c) state the names, ADDRESSES, and telephone numbers                   (closest street ADDRESS or intersection).
     of all PERSONS who have knowledge of the facts; and
 (d) identify all DOCUMENTS and other tangible lhings that           @ 20.2      For each vehicle involved in the INCIDENT, state:
     support your contention and state the name, ADDRESS,                (a) the year, make, model, and license number;
     and telephone number of the PERSON who has each                     (b) the name, ADDRESS, and telephone number of the
     DOCUMENT or thing.                                                      driver;

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      (c) the name, ADDRESS, and telephone number of each                   (d) state the name, ADDRESS, and telephone number of
          occupant other than the driver;                                       each PERSON who has custody of each defective part.
      (d) the name, ADDRESS, and telephone number of each
          registered owner;                                             0   20.11 State the name, ADDRESS, and telephone number of
      (e) the name, ADDRESS, and telephone number of each                   each owner and each PERSON who has had possession
          lessee;                                                           since the INCIDENT of each vehicle involved in the
      (f) the name, ADDRESS, and telephone number of each                   INCIDENT.
          owner other than the registered owner or lien holder;
          and                                                           25.0 [Reserved]
      (g)the name of each owner who gave permission or
           consent to the driver to operate the vehicle.                30.0 {Reserved]
0    20.3 State the ADDRESS and location where your trip                40.0 [Reserved]
     began and the ADDRESS and location of your destination.            50.0 Contract
0 20.4      Describe the route that you followed from the               D   50.1 For each agreement alleged In the pleadings:
     beginning of your trip to the location of the INCIDENT, and            (a) identify each DOCUMENT that is part of the agreement
     state the location of each stop, other than routine traffic                and for each state the name, ADDRESS, and telephone
     stops, during the trip leading up to the INCIDENT.                         number of each PERSON who has the DOCUMENT;
                                                                            (b) state each part of the agreement not in writing, the
0 20.5 State the name of the street or roadway, the lane of                     name, ADDRESS, and telephone number of each
     travel, and the direction of travel of each vehicle Involved in            PERSON agreeing to that provision, and the date that
     the INCIDENT for the 500 feet of travel before the                         part of the agreement was made;
     INCIDENT.                                                              (c) identify all DOCUMENTS that evidence any part of the
0    20.6 Did the INCIDENT occur at an intersection? If so,                     agreement nol in writing and for each state the name,
                                                                                ADDRESS, and telephone number of each PERSON
     describe all traffic control devices, signals, or signs at the
     intersection.                                                              who has the DOCUMENT;
                                                                            (d) identify all DOCUMENTS that are part of any
0 20.7 Was there a traffic signal facing you at the time of the                 modification to the agreement, and for each state the
                                                                                name, ADDRESS, and telephone number of each
     INCIDENT? If so, state:                                                    PERSON who has the DOCUMENT;
     (a) your location when you first saw it;                               (e) state each modification not in writing, the date, and the
     (b) the color;                                                             name, ADDRESS, and telephone number of each
     (c) the number of seconds it had been that color; and                      PERSON agreeing to the modification, and the date the
     (d) whether the color changed between the time you first                   modification was made;
         saw it and the INCIDENT.                                           (f) identify all DOCUMENTS that evidence any modification
                                                                                of the agreement not in writing and for each state the
0 20.8       State how the INCIDENT occurred, giving the speed,                 name, ADDRESS, and telephone number of each
                                                                                PERSON who has the DOCUMENT.
     direction, and location of each vehicle involved:
     (a) just before the INCIDENT;
     (b) at the time of the INCIDENT; and (c) just                      D 50.2 Was there a breach of any agreement alleged in the
          after the INCIDENT.                                               pleadings? If so, for each breach describe and give the date
                                                                            of every act or omission that you claim is the breach or the
                                                                            agreement.
0 20.9 Do you have information that a malfunction or defect in D            50.3 Was performance of any agreement alleged In the
  a vehicle caused the INCIDENT? If so:
     (a) identify the vehicle;                                              pleadings excused? If so, Identify each agreement excused
                                                                            and state why performance was excused.
     (b) identify each malfunction or defect;
     (c) state the name, ADDRESS, and telephone number of
         each PERSON who is a witness to or has information
                                                                        0   50.4 Was any agreement alleged In the pleadings terminated
                                                                            by mutual agreement, release, accord and satisfaction, or
         about each malfunction or defect; and                              novation? If so, identify each agreement terminated, the date
     (d) state the name, ADDRESS, and telephone number of                   of termination, and the basis of the termination.
         each PERSON who has custody of each defective part.

                                                                        0   50.5 Is any agreement aDeged in the pleadings unenforce­
0 20.10      Do you have information that any malfunction or                able? If so, identify each unenforceable agreement and
     defect in a vehicle contributed to the injuries sustained in the       state why it is unenforceable.
     INCIDENT? If so:
     (a) identify the vehicle;                                          0   50.6 Is any agreement alleged in the pleadings ambiguous?
     (b) identify each malfunction or defect;                               If so, Identify each ambiguous agreement and state why it is
     (c) state the name, ADDRESS, and telephone number of                   ambiguous.
         each PERSON who is a witness to or has information
         about each malfunction or defect; and                           60.0 {Reserved}

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 3 Los Angeles, CA 90064
   T. 310/473-0337
 4 F. 310/478-2270
 5 Attorneys for Plaintiff
   MOHAMMAD SADEGH NAMAZIKHAH
 6
 7
 8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                          IN AND FOR THE COUNTY OF LOS ANGELES
10                    CENTRAL DISTRICT - STANLEY MOSK COURTHOUSE
11   MOHAMMAD SADEGH NAMAZIKHAH,                          Case No.: BC 609 141
     an individual,                                       (Unlimited Jurisdiction]
12
                    Plaintiff,                            Hon. Holly Fujie
13                                                        Dept.: 98
             vs.
14                                                        PLAINTIFF MOHAMMAD SADEGH
     DELBERT HOLLAND, an individual; and                  NAMAZIKHAH'S REQUESTS FOR
15   DOES 1 through 20, inclusive,                        IDENTIFICATION AND PRODUCTION
                                                          OF DOCUMENTS, SET NO. ONE
16
                    Defendants.
17
                                                      �
18
19   _______________                                  �
                                                      )
20 PROPOUNDING PARTY                      Plaintiff MOHAMMAD SADEGH NAMAZIKHAH
21 RESPONDING PARTY                       Defendant DELBERT HOLLAND
22 SETNO.                                 ONE
23                                     PRELIMINARY STATEMENT
24          Pursuant to California Code of Civil Procedure§ 2031.010, the propounding party identified
25 above requests you identify, produce and permit the inspection, copying or photographing by or on its
26 behalf, the documents and things specified below within thirty days of service of these Requests for
27 Identification and Production of Documents at the law firm of Robert Hindin & Associates, APLC,
28 11835 W. Olympic Boulevard, Suite 1090, Los Angeles, CA 90064.


      PLAINTIFF'S REQUESTS FOR IDENTIFICATION AND PRODUCTION OF DOCUMENTS, SET NO. ONE




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  1   11835 W. Olympic Boulevard, Suite 1090, Los Angeles, CA 90064.
  2          The responding party may comply with this demand by identifying and delivering, or causing
  3 to be delivered, copies of the requested documents and things to the law firm of Robert Hindin &
  4 Associates, APLC, 11835 W. Olympic Boulevard, Suite 1090, Los Angeles, CA 90064 before the
  5 date for production set forth above.
  6          If the demand is objected to, the reasons for objection shall be stated. If objection is made to
  7 part of an item or category, the part shall be so specified.
  8          As to each and every item the responding party withholds from production, please identify by
  9 description (e.g. memorandum, contract, letter, handwritten note, etc.), date, author, recipient and
 10 subject matter, and state the basis for your refusal to produce it.
 11          If any of the requested documents or things specified to be produced by this demand are
 12 claimed to be privileged, please list the following for each and every item so claimed:
 13          a.      A description of the item (e.g. memorandum, contract, letter, handwritten note, etc.);

 14          b.      The date the item bears, if any;
 15          c.      The general contents of the item;
 16          d.      The name, occupation, capacity, home address and telephone number, and business
 17                  address and telephone number of the individual from whom the allegedly privileged
 18                  item emanated;
 19          e.      The name, occupation, capacity, home address and telephone number, and business
 20                  address and telephone number of the individual to whom the allegedly privileged item

 21                  was directed;
 22          f.      The name, occupation, capacity, home address and telephone number, and business
 23                  address and telephone number of each and every person who is currently in possession

 24                  of the item or a copy thereof; and
 25          g.      The privilege claimed thereto.
 26          If any of the requested documents or things specified to be produced by this demand existed at
 27 one time but no longer exist, please identify each and every such item in the manner indicated above.
 28 In addition, as to each and every such item, please identify the last known location of that item and

                                               2
       PLAINTIFF'S REQUESTS FOR IDENTIFICATION AND PRODUCTION OF DOCUMENTS, SET NO. ONE




                                                                                                Ex 3- 25
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  I   the reason that it is no longer in existence.

  2          In producing the requested documents and things specified to be produced by this demand,

  3 please indicate to which numbered request each item is responsive.

  4          Full compliance with this demand require production of actual photographs or negatives, if

  5 requested. Photographic prints will be made at the propounding party's expense and all photographs
  6 or negatives will be returned to the responding party soon thereafter. Photocopies of any responsive

  7 photographs or negatives will be deemed inadequate compliance with this demand.

  8           The propounding party alleges that the documents and things specified to be produced by this

  9 demand are believed to be currently in the possession, custody or control of the responding party

 10 and/or its agents, are relevant tot he subject matter of this action, and are reasonably calculated to lead

 11   to the discovery of evidence admissible in this action. Notice is hereby given that the propounding

 12 party may object to the admission into evidence of any item pre-dating the scheduled production date

 13 in this demand if the item is not produced as requested.

 14           Words printed in BOLD FACE CAPITALS in this demand are defined as follows:

 15           a.      WRITINGS shall mean any written, printed, typed, recorded (including, but not

 16 limited to, video, audio, digital, CD), electronic or graphic matter including, but not limited to, files,

 17 correspondence, letters, contracts, records, books, papers, telegrams, memoranda, notes, diaries,

 18 calendars, photographs, sketches and every other means of recording upon any tangible thing and

 19 form of communication or representation including letters, words, pictures, sounds, symbols or

 20 combinations of them, and further including originals, drafts, and duplicates thereof as defined in

 21   California Evidence Code Sections 250,255 and 260.

 22           b.      "YOU" or "YOUR" refers to defendant, Delbert Holland and any of said defendant's

 23 agents, employees, insurance companies, attorneys, accountants, investigators, and anyone else acting

 24 on defendant's behalf, and any of their agents, employees, insurance companies, their agents, their

 25 employees, attorneys, accountants, investigators, and anyone else acting on their behalf.

 26           c.      "MOHAMMAD SADEGH NAMAZIKHAH" or "PLAINTIFF' refers to plaintiff

 27 Mohammad Sadegh Namazikhah, and any of his agents, employees, insurance companies, their

 28 employees, attorneys, accountants, investigators, and anyone else acting on his behalf.

                                                3
        PLAINTIFF'S REQUESTS FOR IDENTIFICATION AND PRODUCTION OF DOCUMENTS, SET NO. ONE



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             d.      "INCIDENT" shall be deemed, without further specification, to include the
  2 circumstances and events that fonn the basis of PLAINTIFF's claims alleged in the operative
  3 complaint giving rise to this action or proceeding.
  4          e.      "PERSON" shall mean a natural person, finn, association, organi7.ation,
  5 partnership, business, trust, corporation, or public entity.
  6          f.      "IDENTIFY" means to set forth the names of all individuals and/or entities, their
 7 addresses, and their telephone numbers.
  8                                   DOCUMENTS TO BE PRODUCED
  9          1.      A copy of YOUR driver's license, and any and all documents, renewals, or
 1 0 restrictions.
 11          2.      A copy of YOUR insurance policy or policies providing coverage for the
 12 INCIDENT, in their entirety, not just the face sheets of such policy or policies.
 13          3.      A copy of all ownership and registration papers belonging to the vehicle
 14 YOU were driving, as described in the operative complaint, including "pink slips," OMV registration
 15 certifications, and so forth.
 16          4.      Copies of all reports or other WRITINGS obtained from any insurance
 17 indexing system or insurance reporting system which may have infonnation regarding any alleged
 18 prior claims for PLAINTIFF, if any in fact exists.
 19          5.      Copies of all witness statements obtained prior to the filing of this lawsuit,
 20 by insurance agents, employees, or adjustors acting on behalf of YOUR insurance carrier.
 21          6.      Copies of any and all tickets or citations YOU received as a result of the
 22 INCIDENT.
 23          7.      Copies of all photographs depicting any damages to the vehicle
 24 PLAINTIFF was driving at the time of the INCIDENT, the vehicle YOU were driving at the time of
 25 the INCIDENT, the location of the INCIDENT or cause or causes of the INCIDENT.
 26          8.      Copies of all WRITINGS in support of YOUR denial of liability as
 27 alleged in YOUR answer on file herein.
 28          9.      Copies of all WRITINGS in support of each of YOUR affinnative

                                               4
       PLAINTIFF'S REQUESTS FOR IDENTIFICATION AND PRODUCTION OF DOCUMENTS, SET NO. ONE



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  1: defenses as alleged..in·YOUR answer on file herein.

  2           lO.     Copies of all WlU.TINGS referred to in YOUR resp.Qnses to form

  1 Interrogatories. Set No. One prqpounded by P;LAINTIFF.

  �J          rt.    ·eopJe_s 6fall WltlTINGS supportirtg-·YOUR-contention that PLAINTIFF

  5 · �s contribu,totiJyn�gligent in �ome mMner apd t.hat. such i:;�_ntriqutory g_egligem;:e :gallii�Y..Jri,;whole

  6 or in part or con:4"ibuted in some manner� to the nature and exfont of the]NCIDENT.
  T           12.     Copies of ail \VIU'.flNGS disputing, in.whole or- i:n J?&t, the extent; ac;.qp_e

  g and, ..�tl.lre gf J.>tAINTlFF r s present medi'1;:i:1 cdndJti:on _or extent and scope of the dam:��e�: all�g�d ·as-

  9. a ires ult of the INCIDENT.

 101          13.     Copies 0f a11yphqto.graphs, rno�ies; and/or videotapes made; of

 tl    PL.AINTlF,F at �y time since the date of the INCIDENT; for any tea.sop whatsqeV'et.

 12           14.     Copies of any rurd aJI WRJ;TINGS disputing, in whole orip�part? any of

 13    PLAINTIFF'S claims for property damage to the vehicle she was driving atthetime0 ofthe

 14 INCIDENT.
                                                                                       F
 1:5                  Copi�_ 0{ any ap.d all WRl1'.INGS•di$pUting in whoJe, ot'i l part, .an_y p-f

 16 fL'AJ�TJFF'S claims for loss of employment, loss of wages, employment benefif$,;Or·eg:tpl9Y.J[!�f,

 17 opporn.mities.

                      Copies of any and all repair ·estimates or·repait biUs for prop.�rtyit�lf!fge .to,

 '1-9- the vehicle b.eing (b;jvep by YOU at tlre,ti'm�·ofthe INCJ�ENT.

 20           17.     Copies of any cellular billirig:for- YOUR rnobile or·cellular phone for the
 '21   date ofINCID.ENT.

 ,22

 23 D&Jed· September lS:, 2016                                         NDrN & ASSOCI:AT:f;§,:APLC:
 24

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                                                                            1n
 26
                                                                           intiff
 27                                                                .      egh Namazikhah
 .28



         PLAINTIFF'S REQUESTS FOR 1DENTIFICATION AND PRODUCTION OF DOCUMEN'.tS; SET NO..ONE



                                                                                                       Ex 3- 28
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  1                                                 PROOF OF SERVICE.
  2     STATE OF CALlFORNIA, COUNTY OF LOS ANGELES
  �                 f am employed in the l';qtµtty ofLos Ange1es l State of Califoqiia. I a� �w�rth� �ge (?'(.�ighl��!'l
        ('1 '8)_ an.Q 11ot:a patty tQ the withi:h ,aption. My b�sfuess add�s is l'l835 W. OlyJ11p1c B'ouleva.rg, rs.riff�
  4     1090, Lo�· Angeles, Califorrija 90064.
  5              Oq September 15, 2.016 r �erved the foregoing documentdescrlbed as
  6     1.       INTEllR0GA,TORlES, SET NO. ONE; REQUEST FOR FRODUCTI0N OF
                 DOCUMENTS, SET NO. Ol'IE
  1
        on the interested parties in this action as fol lows:
  8
         Jeff 13onellt 'Esq.
  9      R�alo.w, Rbo.eff;l� & J3r¢toi,
lO       14724 Ven,t;µra 'BJvd.l,Ste, 90!i
         Sherman Qal<s, CA 91403
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12               am •�re��ily familiar" with 'fhe firm's,-pracfic.e.of collection and-processing corr-e�pond'.�Il®. (o,r
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13               �th. p.os.tage thereon fully prepaid at Los Angeles-, Californi·a in the orc;lfo�'�0'\11:!l�'O-f,'bus�ss;;   1   j
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14-              �0Qellat1:on date or-postage meter clateJs n1ore than qne day-a(te_tS-ei.'Ytc;e·nf dep.osl1':fotmai11111g
                 in af:fidavit.
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        0        BY PERSONAL ·SERVI CE: 1 caused a true and correct copy of th.e foreg�fug dqeur;rren�;b.)
1-6·             be.hand delivered in a sealed env.elqpe to the offices·ofthe-ahove-�referem;edi,iU�s�_,:pl,llfy.

11      □        BY OVERNIGHT COURIER: r causecl the aboyi;:�r�fe,:-e.,rc�d p_,o,cµme_r-JJ(sJ !�� '.q�iver.ed
                 to ___________ for deljverytp the above addtes§(�s).
18
                 BY FACSIMILE MACHINE:. The foregoing do_.cum.ent was. transmit'te.dJo··the above-,_named
19               persons by facsimile transmission on said date, and tlietransmissionwas cahfiiined-ascompl�te
                 and without error.
20
                 Executed -on September 15, 20 J .6 at Lps Angeles, C.alifoqiia.
�l"
                 (State)           I.declare untl¢r p�nalty of perju_ty under .the.laws of the S�ft�o,£ Gal.tt:o"mia:,fual
22- '                              the above is mre--and correct.                                                             1
                                                                                                                           ', 1
23      .o       (Federal)         l declare that service was made at the direction ofa member· of't:be.Bar,·offhis
                                   Court.
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'2.'J                         Kyle Hin(Jin
18      J'YPE'OfHlRINT NAME




                                                       PROOF OF SERVJCE
                                                                                                          Ex 3- 29
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1 RobertMarcHindin, Esq., SBN 64793
  Snow Vuong, Esq., SBN 231513
2 ROBERT HINDIN & ASSOCIATES, APLC
  11835 W. Olympic Blvd., Suite 1090
3 Los A ngeles, CA 90064
  T. 310/473-0337
4 F. 310/478-2270
 5   Attorneys for Plaintiff
     MOHAMMAD SA DEGHNAMAZIKHAH
 6
 7
 8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                         IN AND FOR THE COUNTY OF LOS ANGELES
10                   CENTRAL DISTRICT - STANLEY MOSKCOURTBUUSE


                                                   l
11   MOHAMMAD SADEGHNAMAZIKHAH,                        Case No.: BC 609 141
     an individual,                                    [Unlimited Jurisdiction]
12
                   Plaintiff,                          Hon.Holly Fujie
13                                                     Dept.: 98
            vs.
14                                                     PLAINTIFF MOHAMMAD SADEGH
     DELBERTHOLLAND, an individual; and                NAMAZIKHAH'S RESPONSES TO
15   DOES 1 through 20, inclusive,                     FORM INTERROGATORIES, SET NO.
                                                       ONE
16
                  Defendants.
17
18
19
20
21 PROPOUNDING PARTY                    DefendantDELBERT HOLLAND
22   RESPONDING PARTY                    PlaintiffMOHAMMAD SADEGHNAMAZIKHAH
23   SET NO.                             ONE
24         PURSUANT TO C.C.P. §2030.010, PlaintiffMOHAMMAD SADEGHNAM.AZIKHAH
25   hereby responds to Form Interrogatories, SetNo. One, propounded byDefendantDELBERT
26 HOLLAND as follows:
27   RESPONSE TO FORM INTERROGATORY NO. 2.1:
28         (a)    Mohammed SadeghNamazikhah

                                              l
                  PLAINTIFrs RESPONSES TO FORM INTERROGATORIES, SET NO. ONE


                                                                                  Ex 3- 30
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1         (b )   Mohammed Sadegh Namazikhah
 2        ( c)   Since birth.
 3   RESPONSE TO FORM INTERROGATORY NO. 2.2:
 4        May 4, 1948; Qum, Iran
 5   RESPONSE TO FORM INTERROGATORY NO. 2.3:
 6        Yes.
 7        (a)    California
 8        (b)    N8593507; Class C
 9        (c)    1978
10        (d)    Corrective lenses
11   RESPONSE TO FORM INTERROGATORY NO. 2.4:
12       No.
13   RESPONSE TO FORM INTERROGATORY NO. 2.5:
14        (a)    661 Lachman Lane, Pacific Palisades, CA 90272
15        (b)    661 Lachman Lane, Pacific Palisades, CA 90272
16        (c )   Since 2001
17   RESPONSE TO FORM INTERROGATORY NO. 2.6:
18        (a)    Self-employed; M. Sadegh Namazikhah D.M.D., Inc.
19               16661 Ventura Blvd., Ste. 606, Encino, CA 91436
20        (b)    Responding Party is an endodontist.
21               16101 Ventura Blvd., Ste. 345, Encino, CA 91436
22 RESPONSE TO FORM INTERROGATORY NO. 2.7:
23        (a)    Sheshom Bahman High School, in Iran, cannot recall address
24               National University of Iran, School of Dentistry, in Tehran, Iran, cannot recall address
25               University of Southern California, School of Dentistry- Los Angeles, CA
26               University of Southern California, School of Education - Los Angeles, CA
27               University of Southern California, School of Medicine - Los Angeles, CA
28        (b)    Sheshom Bahman High School

                                              2
                 PLAINTIFF'S RESPONSES TO FORM INTERROGATORIES, SET NO. ONE


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 1               National University of Iran: 1968-1974
 2               USC School of Dentistry: 1978-1980
 3               USC School of Education: 1980-1981
 4               USC School of Medicine: 1981-1982
 5        (c)    Post doctoral level
 6        (d)    High School diploma, Doctor of Dental Medicine, Degree Certificate in Endodontic,
 7               Masters Degree in Medical Education, Post Doctoral training in Medical Education
 8               Master of Education
 9               Endodontics Certificate
10   RESPONSE TO FORM INTERROGATORY NO. 2.8:
11       No.
12   RESPONSE TO FORM INTERROGATORY NO. 2.9:
13        Yes.
14   RESPONSE TO FORM INTERROGATORY NO. 2.10:
15        Yes.
16   RESPONSE TO FORM INTERROGATORY NO. 2.11:
17        No.
18   RESPONSE TO FORM INTERROGATORY NO. 2.12:
19        As to Responding Party, no.
20   RESPONSE TO FORM INTERROGATORY NO. 2.13:
21        As to Responding Party, no.
22   RESPONSE TO FORM INTERROGATORY NO. 4.1:
23        Yes.
24        (a)    Auto Insurance
25        (b)    Mercury Insurance - P.O. Box 929, Santa Clarita, CA 91380
26        (c)    Mohammad Sadegh Namazikhah
27        ( d)   0401-06-1401-07 45 5
28        (e)    Bodily injury $250,000/$500,000

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                 PLAINTIFF'S RESPONSES TO FORM INTERROGATORIES, SET NO. ONE


                                                                                     Ex 3- 32
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 1                  Property damage $100,000
 2                  Uninsured motorist $100,000/$300,000
 3           (t)    No.
 4           (g)    Mohammad Sadegh Namazikhah- 661 Lachman Lane, Pacific Palisades, CA 90272
 5   RESPONSE TO FORM INTERROGATORY NO. 4.2:
 6          No.
 7   RESPONSE TO FORM INTERROGATORY NO. 6.1.:-
 8           Yes.
 9   RESPONSE TO FORM INTERROGATORY NO. 6.2:
10          Neck pain, cervical spine sprain/strain, cervicobrachial syndrome, cervical spine myofascitis,
11 cervical spine muscle spasm, brachial neuritis, neuralgia, left leg sprain/strain, left shoulder
12   sprain/strain, rotator cuff injury on left shoulder, lower back pain, lumbar spine sprain/strain, lumbar
13   spine muscle spasm, lumber disc disease, cervicogenic headache; post traumatic left shoulder bursitis,
14   tendonitis; myofascitis of the entire spine and right hip; metabolic syndrome with central obesity;
15   complete tear of the rotator cuff, tear of the superior labrum, severe impingement syndrome,
16 secondary degeneration of the acromioclavicularjoint, synovitis of the glenohumeraljoint,
17   subacromial bursitis, severe injury of the lower back and both sacroiliacjoints.
18   RESPONSE TO FORM INTERROGATORY NO. 6.3:
19           Yes.
20           (a)    Chronic pain to shoulder, limitation of use of shoulder and left hand, tightness in neck,
21                  limitation of movement of neck, headaches, backaches that shoot to legs
22           (b)    Shoulder - worse after surgery but was told by doctor that it will improve; everything
23                  else mentioned has been subsiding but still very painful
24           (c)    Constant and exaggerated with movement.
25   RESPONSE TO FORM INTERROGATORY NO. 6.4:
26   Yes.
27   Primary Health Clinic / Elham Nemat, D.C., Q.M.E
28 16101 Ventura Blvd., Ste. 343, Encino, CA 91436, 818-779-1447

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                     PLAINTIFF'S RESPONSES TO FORM INTERROGATORIES, SET NO. ONE


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 1   Chiropractic manipulation and physical therapy
 2   $6,174.00
 3   Integrated Healthcare Medical Group / Kamran Broukhim, M.D. / Roya Tabibian, D.C.
 4   1762 Westwood Blvd., Ste. 300, Los Angeles, CA 90024, 310-441-2000
 5   Chiropractic manipulation and physical therapy
 6   $3,723.00
 7
 8   Radiology Disc of Encino/ Andy Herbold, M.D.
 9   16661 Ventura Blvd., Ste. 100, Encino, CA 91436, 818-986-3472
10   MRI
11   $10,500.00
12
13   Beverly Hills Center for Arthroscopic and Outpatient Surgery/ Jamshid Hekmat, M.D. / Farshid
14   Hekmat, M.D. / Samuel Seelig, M.D. / Sharon Bonnes, M.D. / Shirin Hekmat
15   9763 Pico Blvd., Ste. 250, Los Angeles, CA 90035, 310-772-0098
16   Epidural injection, arthroscopy of the left shoulder with arthroscopic repair of the rotator cuff,
17   arthroscopic repair of the superior labrum, arthroscopic subacromial decompression/acromioplasty,
18   arthroscopic Mumford procedure, arthropscopic synovectomy, arthroscopic total bursectomy, bilateral
19   sacroiliac blocks, anaesthetic, lab work.
20   $77,427.25
21   RESPONSE TO FORM INTERROGATORY NO. 6.5
22 Although Responding Party was prescribed Norco, he refuses to take it to avoid any possibility of
23   addiction, and instead, suffers from the pain.
24   RESPONSE TO FORM INTERROGATORY NO. 6.6:
25 No.
26   RESPONSE TO FORMINTERROGATORY NO. 6.7:
27   Yes.
28   (a)    Beverly Hills Center for Arthroscopic and Outpatient Surgery/ Jamshid Hekmat, M.D.

                                                  5
                     PLAINTIFF'S RESPONSES TO FORM INTERROGATORIES, SET NO. ONE


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 1           9763 Pico Blvd., Ste. 250, Los Angeles, CA 90035, 310-772-0098
 2   (b)     Back and shoulder pain
 3   (c)     Epidural injections; physical therapy
 4           Future medical costs unknown at this time.
 5   RESPONSE TO FORM INTERROGATORY NO. 7.1:
 6   Yes, however, the property damage claim was internally resolved as a result of Responding Party and
 7   Propounding Party both having Mercury Auto Insurance.
 8   RESPONSE TO FORM INTERROGATORY NO. 7.2:
 9   Yes, however, the property damage claim was internally resolved as a result of Responding Party and
10   Propounding Party both having Mercury Auto Insurance.
11   RESPONSE TO FORM INTERROGATORY NO. 7.3:
12   Yes, however, the property damage claim was internally resolved as a result of Responding Party and
13   Propounding Party both having Mercury Auto Insurance.
14   RESPONSE TO FORM INTERROGATORY NO. 8.1:
15   Responding Party is not making a claim for loss of income nor earning capacity at this time.
16   RESPONSE TO FORM INTERROGATORY NO. 9.1:
17 No.
18   RESPONSE TO FORM INTERROGATORY NO. 10.1:
19 No.
20   RESPONSE TO FORM INTERROGATORY NO. 10.2:
21   None.
22   RESPONSE TO FORM INTERROGATORY NO. 10.3:
23 No.
24   RESPONSE TO FORM INTERROGATORY NO. 11.1:
25 No.
26   RESPONSE TO FORM INTERROGATORY NO. 11.2:
27   No.
28   ///

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                     PLAINTIFF'S RESPONSES TO FORM INTERROGATORIES, SET NO. ONE


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1    RESPONSE TO FORM INTERROGATORY NO. 12.1:
2    Only parties to this action; no other witnesses.
3    RESPONSE TO FORM INTERROGATORY NO. 12.2:
 4 No.
 5   RESPONSE TO FORM INTERROGATORY NO. 12.3:
6 No.
 7 RESPONSE TO FORM INTERROGATORY NO. 12.4:
8    (a)    4 photos
 9   (b)    Vehicles involved and Defendant Holland
10   (c )   December 11, 2013
11 (d)      Mohammad Sadegh Namazikhah
12   (e)    Mohammad Sadegh Namazikhah
13   RESPONSE TO FORM INTERROGATORY NO. 12.5:
14 No.
15   RESPONSE TO FORM INTERROGATORY NO. 12.6:
16 No.
17   RESPONSE TO FORM INTERROGATORY NO. 12.7:
18   No.
19   RESPONSE TO FORM INTERROGATORY NO. 13.2:
20 NIA
21   RESPONSE TO FORM INTERROGATORY NO. 14.1:
22   Yes. Defendant Delbert Holland violated Vehicle Code Section 22350 - driving at an unsafe speed.
23   RESPONSE TO FORM INTERROGATORY NO. 14.2:
24   Unknown to Responding Party.
25   RESPONSE TO FORM INTERROGATORY NO. 20.1:
26   On or about December 11, 2013 at approximately 1:15 p.m. on Topanga Canyon Blvd. near the
27   intersection of Topanga Canyon and Strathem St., Los Angeles, CA.
28   ///

                                                 7
                     PLAINTIFF'S RESPONSES TO FORM INTERROGATORIES, SET NO. ONE


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 1   RESPONSE TO FORM INTERROGATORY NO. 20.2:
 2   The only information Responding possesses in regards to Defendant's vehicle is that it is a BMW,
 3   was driven by Delbert Holland at the time of the subject incident, and there were no passengers in the
 4   vehicle. As to Plaintiffs vehicle:
 5   (a)    2011 Buick Lacrosse, plate 6VFF802
 6   (b)    Mohammad Sadegh Namazikhah
 7   (c)    None
 8   (d)    Nader Saborouh- can be contacted through Robert Hindin & Associates
 9   (e)    Mohammad Sadegh Namazikhah
10   (f)    None
11   (g)    Nader Saborouh
12   RESPONSE TO FORM INTERROGATORY NO. 20.3:
13   The trip began at 16661 Ventura Blvd., Encino, CA and the destination was 22601 Lassen St.,
14   Chatsworth, CA 91311.
15   RESPONSE TO FORM INTERROGATORY NO. 20.4:
16   Responding Party traveled west on Ventura Blvd., turned right onto Balboa Blvd., merged onto the
17   101 north, exited onto Topanga Canyon Blvd. north, towards Strathem St.
18   RESPONSE TO FORM INTERROGATORY NO. 20.5:
19   The parties were on Topanga Canyon Blvd. in the number one lane.
20   RESPONSE TO FORM INTERROGATORY NO. 20.6:
21   No, the incident occurred prior to the vehicles entering into the intersection.
22   RESPONSE TO FORM INTERROGATORY NO. 20.7:
23   Yes.
24   (a)     While traveling on Topanga Canyon Rd. and approaching Strathem St.
25   (b)     Red.
26   (c)     Approximately 6 seconds.
27   (d)    No.
28 III

                                                  8
                     PLAINTIFF'S RESPONSES TO FORM INTERROGATORIES, SET NO. ONE


                                                                                            Ex 3- 37
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 1   RESPONSE TO FORM INTERROGATORY NO. 20.8:
 2   (a)    Plaintiff's vehicle was at a complete stop, facing a red light, on Topanga Canyon Rd.,
 3          positioned north, near the intersection ofTopanga Canyon and Strathem St. when Defendant's
 4          vehicle collided into the rear of Plaintiffs vehicle.
 5   ( b)   Plaintiff's vehicle was at a complete stop, facing a red light on Topanga Canyon Rd.,
 6          positioned north, near the intersection of Topanga Canyon and Strathem St. when Defendant's
 7          vehicle collided into the rear of Plaintiff's vehicle.
 8   (c)    Plaintiff's vehicle was at a complete stop, facing a red light, on Topanga Canyon Rd.,
 9          positioned north, near the intersection ofTopanga Canyon and Strathern St. when Defendant's
10          vehicle collided into the rear of Plaintiffs vehicle.
11   RESPONSE TO FORM INTERROGATORY NO. 20.9:
12   No.
13   RESPONSE TO FORM INTERROGATORY NO. 20.10:
14   No.
15   RESPONSE TO FORM INTERROGATORY NO. 20.11:
16   Plaintiffs vehicle - Mohammad Sadegh Namazikhab and Nader Saborouh
17   Defendant's vehicle - Unknown to Plaintiff.
18
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                    PLAINTIFF'S RESPONSES TO FORM LVl'ERROGATORIES, SET NO. ONE


                                                                                           Ex 3- 38
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 1   Robert Marc Hindin, Esq., SBN 64793
     Snow Vuong, Esq., SBN 231513
 2   ROBERT BINDIN & ASSOCIATES, APLC
     11835 W. Olympic Blvd., Suite 1090
 3   Los Angeles, CA 90064
     T. 310/473-0337
 4   F. 310/478-2270
 5   Attorneys for Plaintiff
     MOHAMMAD SADEGH NAMAZIKHAH
 6
 7
 8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                           IN AND FOR THE COUNTY OF LOS ANGELES
10                     CENTRAL DISTRICT - STANLEY MOSK COURTHOUSE
11    MOHAMMAD SADEGH NAMAZIKHAH,                           Case No.: BC 609 141
      an individual,                                        [Unlimited Jurisdiction]
12
                     Plaintiff,                             Hon. Holly Fujie
13                                                          Dept.: 98
             vs.
14                                                          PLAINTIFF MOHAMMAD SADEGH
      DELBERT HOLLAND, an individual; and                   NAMAZIKHAH'S REQUESTS FOR
15    DOES 1 through 20, inclusive,                         IDENTIFICATION AND PRODUCTION
                                                            OF DOCUMENTS, SET NO. ONE
16
                     Defendants.
17


                   _____ l
18
19
20   PROPOUNDING PARTY                     Plaintiff MOHAMMAD SADEGH NAMAZIKHAH
21   RESPONDING PARTY                      Defendant DELBERTROLLAND
22   SET NO.                               ONE
23                                      PRELIMINARY STATEMENT
24          Pursuant to California Code of Civil Procedw·e § 2031.010, the propounding party identified
25   above requests you identify, produce and permit the inspection, copying or photographing by or on its
26   behalf, the docmnents and things specified below within thirty days of service of these Requests for
27   Identification and Production of Documents at the law firm of Robert Hindin & Associates, APLC,
28   11835 W. Olympic Boulevard, Suite 1090, Los Angeles, CA 90064.

                                                        1
      PLAINTIFF'S REQUESTS FOR IDENTIFICATION AND PRODUCTION OF DOCUMENTS, S:E;T NO. ONE


                                                                                           Ex 3- 39
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 1          The responding party may comply with this demand by identifying and delivering, or causing
 2 to be delivered, copies of the requested documents and things to the law firm of Robert Hindin &
 3   Associates, APLC, 11835 W. Olympic Boulevard, Suite 1090, Los Angeles, CA 90064 before the
 4   date for production set forth above.
 5          If the demand is objected to, the reasons for objection shall be stated. If objection is made to
 6   part of an item or category, the part shall be so specified.
 7          As to each and every item the responding party withholds from production, please identify by
 8   description (e.g. memorandum, contract, letter, handwritten note, etc.), date, author, recipient and
 9   subject matter, and state the basis for your refusal to produce it.
10          If any of the requested documents or things specified to be produced by this demand are
11 claimed to be privileged, please list the following for each and every item so claimed:
12          a.       A description of the item (e.g. memorandum, contract, letter, handwritten note, etc.);
13          b.       The date the item bears, if any;
14           C.      The general contents of the item;
15          d.       The name, occupation, capacity, home address and telephone number, and business
16                   address and telephone number of the individual from whom the allegedly privileged
17                  item emanated;
18          e.       The name, occupation, capacity, home address and telephone number, and business
19                   address and telephone number of the individual to whom the allegedly privileged item
20                   was directed;
21          f.       The name, occupation, capacity, home address and telephone number, and business
22                   address and telephone number of each and every person who is currently in possession
23                   of the item or a copy thereof; and
24           g.      The privilege claimed thereto.
25          If any of the requested documents or things specified to be produced by this demand existed at
26   one time but no longer exist, please identify each and every such item in the manner indicated above.
27   In addition, as to each and every such item, please identify the last known location of that item and
28   the reason that it is no longer in existence.

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      PLAINTIFF'S REQUESTS FOR IDENTIFICATION AND PRODUCTION OF DOCUMENTS, SET NO. ONE


                                                                                             Ex 3- 40
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 1          In producing the requested documents and things specified to be produced by this demand,
 2   please indicate to which numbered request each item is responsive.
 3          Full compliance with this demand require production of actual photographs or negatives, if
 4   requested. Photographic prints will be made at the propounding party's expense and all photographs
 5   or negatives will be returned to the responding party soon thereafter. Photocopies of any responsive
 6   photographs or negatives will be deemed inadequate compliance with this demand.
 7          The propounding party alleges that the documents and things specified to be produced by this
 8   demand are believed to be currently in the possession, custody or control of the responding party
 9   and/or its agents, are relevant tot he subject matter of this action, and are reasonably calculated to lead
10   to the discovery of evidence admissible in this action. Notice is hereby given that the propounding
11   party may object to the admission into evidence of any item pre-dating the scheduled production date
12   in this demand if the item is not produced as requested.
13          Words printed in BOLD FACE CAPITALS in this demand are defined as follows:
14          a.      WRITINGS shall mean any written, printed, typed, recorded (including, but not
15   limited to, video, audio, digital, CD), electronic or graphic matter including, but not limited to, files,
16   correspondence, letters, contracts, records, books, papers, telegrams, memoranda, notes, diaries,
17   calendars, photographs, sketches and every other means of recording upon any tangible thing and
18   form of communication or representation including letters, words, pictures, sounds, symbols or
19   combinations of them, and further including originals, drafts, and duplicates thereof as defined in
20   California Evidence Code Sections 250, 255 and 260.
21          b.       "YOU" or "YOUR" refers to defendant, Delbert Holland and any of said defendant's
22   agents, employees, insurance companies, attorneys, accountants, investigators, and anyone else acting
23   on defendant's behalf, and any of their agents, employees, insurance companies, their agents, their
24   employees, attorneys, accountants, investigators, and anyone else acting on their behalf.
25           C.     "MOHAMMAD SADEGH NAMAZIKHAH" or "PLAINTIFF" refers to plaintiff
26   Mohammad Sadegh Namazikhah, and any of his agents, employees, insurance companies, their
27   employees, attorneys, accountants, investigators, and anyone else acting on his behalf.
28           d.      "INCIDENT" shall be deemed, without further specification, to include the

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      PLAINTIFF'S REQUESTS FOR IDENTIFICATION AND PRODUCTION OF DOCUMENTS, SET NO. ONE


                                                                                                Ex 3- 41
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 1   circumstances and events that form the basis of PLAINTIFF's claims alleged in the operative
 2   complaint giving rise to this action or proceeding.
 3           e.      "PERSON" shall mean a natural person, � association, orgc_l11ization,
 4   partner.ship, business, trust, corporation, or public entity.
 5           f.      "IDENTIFY" means to set forth the names of all individuals and/or entities, their
 6   addresses, and their telephone numbers.
 7                                     DOCUMENTS TO BE PRODUCED
 8           1.      A copy of YOUR driver's license, and any and all documents, renewals, or
 9   restrictions.
             2.      A copy of YOUR insurance policy or policies providing coverage for the
11   INCIDENT, in their entirety, not just the face sheets of such policy or policies.
12           3.      A copy of all ownership and registration papers belonging to the vehicle
13   YOU were driving, as described in the operative complaint, including "pink slips," DMV registration
14   certifications, and so forth.
15           4.      Copies of all reports or other WRITINGS obtained from any insurance
16   indexing system or insurance reporting system which may have informationi-egarding any alleged
17   prior claims for PLAINTIFF, if any in fact exists.
18           5.      Copies of all witness statements obtained prior to the filing of this lawsuit,
19   by insurance agents, employees, or adjustors acting on behalf of YOUR insurance carrier.
20           6.      Copies of any and all tickets or citations YOU received as a result of the
21   INCIDENT.
22           7.      Copies of all photographs depicting any damages to the vehicle
23   PLAINTIFF was driving at the time of the INCIDENT, the vehicle YOU were driving at the time of
24   the INCIDENT, the location of the INCIDENT or cause or causes of the INCIDENT.
25           8.      Copies of aU WRITINGS in support of YOUR denial of liability as
26   alleged in YOUR answer on file herein.
27           9.      Copies of all WRITINGS in support of each of YOUR affirmative
28   defenses as alleged in YOUR answer on file herein.


      PLAJNTIFF'S REQUESTS FOR IDENTIFICATION AND PRODUCTION OF DOCUMENTS, SEI NO. ONE


                                                                                               Ex 3- 42
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 1          10.       Copies of all WRITINGS referred to in YOUR responses to Form
 2   Interrogatories, Set No. One propounded by PLAINTIFF.
 3          11.       Copies of all WRITINGS supporting YOUR contention that PLAINTIFF
4    was contributorily negligent in some manner and that such contributory negligence caused, in whole
 5   or in part, or contributed in some manner, to the nature and extent of the INCIDENT.
 6          12.       Copies of all WRITINGS disputing, in whole or in part, the extent, scope
 7   and nature of PLAINTIFF'S present medical condition or extent and scope of the damages alleged as
 8   a result of the INCIDENT.
 9          13.       Copies of any photographs, movies, and/or videotapes made of
10   PLAINTIFF at any time since the date of the INCIDENT, for any reason whatsoever.
11          14.       Copies of any and all WRITINGS disputing, in whole or in part, any of
12   PLAINTIFF'S claims for property damage to the vehicle she was driving at the time of the
13   INCIDENT.
14          15.       Copies of any and all WRITINGS disputing, in whole or in part, any of
15   PLAINTIFF'S claims for loss of employment, loss of wages, employment benefits, or employment
16   opportunities.
17          16.       Copies of any and all repair estimates or repair bills for property damage to
18   the vehicle being driven by YOU at the time of the INCIDENT.
19          17.       Copies of any cellular billing for YOUR mobile or cellular phone for the
20   date of INCIDENT.
21
22   Dated: September 15, 2016                      ROBERT HINDIN & ASSOCIATES, APLC
23
24                                           By:_�-����-----
                                                 Robert Marc Hindin
25                                               Snow Vuong
                                                 Attorneys for Plaintiff
26                                               Mohammad Sadegh Namazikhah
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      PLAINTIFF'S REQUESTS FOR IDENTIFICATION AND PRODUCTION OF DOCUMENTS, SET NO. ONE


                                                                                               Ex 3- 43
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     Snow Vuong, Esq., SBN 231513
 2   ROBERT HINDIN & ASSOCIATES, APLC
     11835 W. Olympic Blvd., Suite 1090
 3   Los Angeles, CA 90064
     T. 310/473-0337
 4   F. 310/478-2270
 5   Attorneys for Plaintiff
     MOHAMMAD SADEGH NAMAZIKHAH
 6
 7
 8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                          IN AND FOR THE COUNTY OF LOS ANGELES
10                    CENTRAL DISTRICT - STANLEY MOSK COURTHOUSE
11    MOHAMMAD SADEGH NAMAZIKHAH,
      an individual,
12
                    Plaintiff,
13
             vs.
14                                                       PLAINTIFF MOHAMMAD SADEGH
      DELBERT HOLLAND, an individual; and                NAMAZIKHAH'S RESPONSES TO
15    DOES 1 through 20, inclusive,                      DEMAND FOR INSPECTION AND
                                                         PRODUCTION OF DOCUMENTS, SET




                                                     l
16                                                       NO.ONE
                    Defendants.
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21   PROPOUNDING PARTY                    Defendant DELBERT HOLLAND
22   RESPONDING PARTY                     Plaintiff MOHAMMAD SADEGH NAMAZIKHAH
23   SET NO.                              ONE
24          PURSUANT TO C.C.P. §2031.010, Plaintiff MOHAMMAD SADEGH NAMAZIKHAH
25   hereby responds to Demand for Inspection and Production of Documents, Set No. One, propounded
26   by Defendant DELBERT HOLLAND as follows:
27   RESPONSE TO DEMAND NO. 1:
28          Plaintiff will comply with this Request in whole. All requested documents in Responding

                                                I
                   PLAINTIFF'S RESPONSES TO DEMAND FOR DOCUMENTS, SET NO. ONE


                                                                                        Ex 3- 44
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 1   Party's possession, custody or control will be produced as Exhibit 1.
 2   RESPONSE TO DEMAND NO. 2:
 3          A diligent search and a reasonable inquiry has been made in an effort to comply with this
 4   Request. The Responding Party is unable to comply because the documents requested have never
 5   existed.
 6   RESPONSE TO DEMAND NO. 3:
 7          Plaintiff will comply with this Request in whole. All requested documents in Responding
8    Party's possession, custody or control will be produced as Exhibit 2.
 9   RESPONSE TO DEMAND NO. 4:
10          Plaintiff will comply with this Request in whole. All requested documents in Responding
11   Party's possession, custody or control will be produced as Exhibit 2.
12   RESPONSE TO DEMAND NO. 5:
13          A diligent search and a reasonable inquiry has been made in an effort to comply with this
14   Request. The Responding Party is unable to comply because the documents requested have been lost.
15   RESPONSE TO DEMAND NO. 6:
16          Plaintiff is not making a claim for loss of use at this time.
17   RESPONSE TO DEMAND NO. 7:
18          Plaintiff is not making a claim for loss of earnings at this time.
19   RESPONSE TO DEMAND NO. 8:
20          A diligent search and a reasonable inquiry has been made in an effort to comply with this
21   Request. The Responding Party is unable to comply because the documents requested have never
22   existed.
23   RESPONSE TO DEMAND NO. 9:
24              Plaintiff will comply with this Request in whole. All requested documents in Responding
25   Party's possession, custody or control will be produced as Exhibit 3.
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                       PLAINTIFF'S RESPONSES TO DEMAND FOR DOCUMENTS, SET NO. ONE


                                                                                           Ex 3- 45
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 1 Robert Marc Hindin;,E�g SBN 64793
   Snow Vuong, Esq., l)BN ..::�:31513
 2 ROBERT HINDIN & ASSOCIATES, APLC
   11835 W. Olympic Blvd., Suite 1090
 3 Los Angeles, CA 90064
   T. 310/473-0337
 4 F.310/478-2270
 5   Attorneys for Plaintiff
     MOHAMMAD SADEGH NAMAZIKHAH
 6
 7
 8                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                         IN AND FOR THE COUNTY OF LOS ANGELES
10                  CENTRAL DISTRICT - STANLEY MOSK COURTHOUSE
11    MOHAMMADSADEGH                                    Case No.: BC 609 141
      NAMAZIKHAH, an individual,                        [Unlimited Jurisdiction]
12
                    Plaintiff,                          Hon. Holly Fujie
13                                                      Dept.: 98
             vs.
14                                                      PLAINTIFF MOHAMMAD SADEGH
      DELBERT HOLLAND, an individual; and               NAMAZIKHAH'S RESPONSES TO
15    DOES 1 through 20, inclusive,                     SPECIAL INTERROGATORIES, SET
                                                        NO.ONE
16
                    Defendants.
17
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21   PROPOUNDINGPARTY                   Defendant DELBERT HOLLAND
22   RESPONDING PARTY                   Plaintiff MOHAMMAD SADEGH NAMAZIKHAH
23   SETNO.                             ONE
                       N
24          PURSUAT TO C.C.P. §2031.010, Plaintiff MOHAMMAD SADEGH NAMAZIKHAH
25   hereby responds to Special Interrogatories, Set No. One, propounded by Defendant DELBERT
26   HOLLAND as follows:
27   RESPONSE TO SPECIAL INTERROGATORY NO. 1:
28   Dr. Arshia Noori - Cedars-Sinai Medical Center 8700 Beverly Blvd., Los Angeles, CA

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                   PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES, SET NO. ONE


                                                                                      Ex 3- 46
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 1 Dr. Hooman Madyoon- 99 N. La Cienega Blvd., Ste. 203, Beverly Hills, CA
 2 Dr. Allan Kurtz - 6325 Topanga Canyon Blvd., Ste. Woodland Hills, CA
 3   RESPONSE TO SPECIAL INTERROGATORY NO. 2:
 4   Primary Health Clinic I Elham Nemat, D.C., Q.M.E
 5   $6,174.00
 6   Integrated Healthcare Medical Group / Kamran Broukhim, M.D. I Roya Tabibian, D.C.
 7   $3,723.00
 8   Radiology Disc of Encino I Andy Herbold, M.D.
 9   $10,500.00
10   Beverly Hills Center for Arthroscopic and Outpatient Surgery I Jamshid Hekmat, M.D. I Farshid
11   Hekmat, M.D. I Samuel Seelig, M.D. I Sharon Bonnes, M.D. I Shirin Hekmat
12   $77,427.25
13   RESPONSE TO SPECIAL INTERROGATORY NO. 3:
14   No, they are on liens.
15   RESPONSE TO SPECIAL INTERROGATORY NO. 4:
16   Blue Shield of California
17   P.O. Box 272540, Chico, CA 95927
18   RESPONSE TO SPECIAL INTERROGATORY NO. 5:
19   Aetna
20   151 Farmington Ave.
21 Hartford, CT 06156
22 RESPONSE TO SPECIAL INTERROGATORY NO. 6:
23 NIA
24   RESPONSE TO SPECIAL INTERROGATORY NO. 7:
25 NIA
26   RESPONSE TO SPECIAL INTERROGATORY NO. 8:
27 No.
28   III

                                                 2
                   PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES, SET NO. ONE


                                                                                       Ex 3- 47
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 1 RESPONSE TO SPECIAL INTERROGATORY NO. 9:
 2 NIA
 3   RESPONSE TO SPECIAL INTERROGATORY NO.10:
 4   NIA
 5   RESPONSE TO SPECIAL INTERROGATORY NO. 11:
 6 No.
 7   RESPONSE TO SPECIAL INTERROGATORY NO. 12:
 8   NIA
 9   RESPONSE TO SPECIAL INTERROGATORY NO. 13:
10 NIA
11   RESPONSE TO SPECIAL INTERROGATORY NO. 14:
12 NIA
13   RESPONSE TO SPECIAL INTERROGATORY NO. 15:
14   556552894A
15   RESPONSE TO SPECIAL INTERROGATORY NO. 16:
16 None.
17   RESPONSE TO SPECIAL INTERROGATORY NO. 17:
18 No.
19   RESPONSE TO SPECIAL INTERROGATORY NO.18:
20 NIA
21   RESPONSE TO SPECIAL INTERROGATORY NO. 19:
22 NIA
23   RESPONSE TO SPECIAL INTERROGATORY NO. 20:
24   Primary Health Clinic I Elham Nemat, D.C., Q.M.E
25   16101 Ventura Blvd., Ste. 343, Encino, CA 91436, 818-779-1447
26
27 Integrated Healthcare Medical Group I Kamran Broukhim, M.D. I Roya Tabibian, D.C.
28   1762 Westwood Blvd., Ste. 300, Los Angeles, CA 90024, 310-441-2000

                                                3
                  PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES, SET NO. ONE


                                                                                   Ex 3- 48
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 1   Radiology Disc of Encino/ Andy Herbold, M.D.
 2   16661 Ventura Blvd., Ste. 100, Encino, CA 91436, 818-986-3472
 3
 4   Beverly Hills Center for Arthroscopic and Outpatient Surgery/ Jamshid Hekmat, M.D. / Farshid
 5   Hekmat, M.D./ Samuel Seelig, M.D. / Sharon Bonnes, M.D./ Shirin Hekmat
 6   9763 Pico Blvd., Ste. 250, Los Angeles, CA 90035, 310-772-0098
 7   RESPONSE TO SPECIAL INTERROGATORY NO. 21:
 8   To date:
 9   Primary Health Clinic/ Elham Nernat, D.C., Q.M.E
10   $6,174.00

11   Integrated Healthcare Medical Group/ Kamran Broukhim, M.D. I Roya Tabibian, D.C.
12   $3,723.00

13   Radiology Disc of Encino/ Andy Herbold, M.D.
14   $10,500.00

15   Beverly Hills Center for Arthroscopic and Outpatient Surgery/ Jamshid Hekmat, M.D. / Farshid
16   Hekmat, M.D./ Samuel Seelig, M.D./ Sharon Bonnes, M.D./ Shirin Hekmat
17   $77,427.25

18   RESPONSE TO SPECIAL INTERROGATORY NO. 22:
19   NIA
20   RESPONSE TO SPECIAL INTERROGATORY NO. 23:
21   Warner Victory Pharmacy
22   6325 Topanga Canyon Blvd., Woodland Hills, CA 91367
23   CVS
24   864 N. Swarthmore Ave., Pacific Palisades, CA 90272
25   RESPONSE TO SPECIAL INTERROGATORY NO. 24:
26   Saideh Namazikhah - 661 Lachman Lane, Pacific Palisades, CA 90272
27   Mojgan Faghihi - 16661 Ventura Blvd., Ste. 100, Encino, CA 91436, 818-986-3472
28 // /

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                  PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES, SET NO. ONE


                                                                                       Ex 3- 49
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 1   RESPONSE TO SPECIAL INTERROGATORY NO. 25:
 2   Saideh Namazikhah - 661 Lachrnan Lane, Pacific Palisades, CA 90272
 3   Mojgan Faghihi - 16661 Ventura Blvd., Ste. 100, Encino, CA 91436, 818-986-3472
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                  PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES, SET NO. ONE


                                                                                      Ex 3- 50
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 1 Robert Marc Hindin, Esq., SBN 64793
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 2 Kyle Jordan Hindin, Esq., SBN 312472
   ROBERT HINDIN & A,SSOCIATES, APLC
 3 11835 W. Olympic Blvd., Suite 1090
   Los Angeles, CA 90064
 4 T. 310/473-0337 IF. 310/478-2270
 5   Attorneys for PJaintiff
     MOHAMMAD SADEGH NAMAZIKHAH
 6
 7
 8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                            IN AND FOR THE COUNTY OF LOS ANGELES
10                      CENTRAL DISTRICT - STANLEY MOSK COURTHOUSE
11    MOHAMMAD SADEGH NAMAZIKHAH,                          Case No.: BC 609 141
      an individual,                                       [Unlimited Jurisdiction]
12
                      Plaintiff,                           Hon. Holly Fujie
13                                                         Dept.: 98
             vs.
14                                                         PLAINTIFF MOHAMMAD SADEGH
      DELBERT HOLLAND, an individual; and                  NAMAZIKHAH'S RESPONSE TO
15    DOES 1 through 20, inclusive,                        SUPPLEMENTAL INTERROGATORY,
                                                           SET NO.ONE
16




                                                       l
                      Defendants.
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19       --------------
20   PROPOUNDING PARTY                      Defendant DELBERT HOLLAND
21   RESPONDING PARTY                       Plaintiff MOHAMMAD SADEGH NAMAZIKHAH
22 SET NO.                                  ONE
23          PURSUANT TO C.C.P. §2030.070, Plaintiff MOHAMMAD SADEGH NAMAZIKHAH
24   hereby responds to Supplemental Interrogatory, Set No. One, propounded by Defendant DELBERT
25   HOLLAND as follows:
26                                       PRELIMINARY STATEMENT
27          These responses are made solely for the purpose of this action. Each response is subject to all
28   appropriate objections which would require the exclusion of any evidence contained herein if the

                                                  1
                   PLAINTIFF'S RESPONSE TO SUPPLEMENTAL INTERROGATORY, SET NO. ONE


                                                                                           Ex 3- 51
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 1   material were offered at the time of trial. All objections and grounds are reserved and may be
 2 interposed at the time of trial.
 3            The responding party has not yet completed investigation of the facts relating to this action,
 4 discovery in this action, or preparation for trial of this action. Consequently, these responses are
 5   given without prejudice to the right of the responding party to produce at the time of trial any and all
 6   subsequently discovered evidence relating to the proof of presently known material facts, and to
 7 produce all evidence, whenever discovered, relating to the proof of subsequently discovered material
 8   facts.
 9            Lastly, the objection is made to each and every interrogatory that the information sought
10 invades the attorney-client and attorney-work product privileges. Without waiving this objection, the
11 responding party hereby responds as follows:
12   RESPONSE TO SUPPLEMENTAL INTERROGATORY NO. 1:
13            All answers remain the same.
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                                                 2
                  PLAINTIFF'S RESPONSE TO SUPPLEMENTAL INTERROGATORY, SET NO. ONE


                                                                                               Ex 3- 52
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 1   Robert Marc Hindin, Esq., SBN 64793
     Snow Vuong, Es9.., SBN 231513
 2   Kyle Jordan Hindm, Esq., SBN 312472
     ROBERT IDNDIN & ASSOCIATES, APLC
 3   11835 W. Olympic Blvd., Suite 1090
     Los Angeles, CA 90064
 4   T. 310/473-0337 IF. 310/478-2270
 5   Attorneys for Plaintiff
     MOHAMMAD SADEGHNAMAZIKHAH
 6
 7
 8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                           IN AND FOR THE COUNTY OF LOS ANGELES
10                     CENTRAL DISTRICT - STANLEY MOSK COT.JRTHOUSE
11    MOHAMMAD SADEGH NAMAZIKHAH,                          Case No.: BC 609 141
      an individual,                                       [Unlimited Jurisdiction]
12
                     Plaintiff,                            Hon. Holly Fujie
13                                                         Dept.: 98
             vs.
14                                                     )   PLAINTIFF MOHAMMAD SADEGH
      DELBERT HOLLAND, an individual; and              )   NAMAZIKHAH'S RESPONSE TO
15    DOES 1 through 20, inclusive,                        SUPPLEMENTAL DEMAND FOR
                                                           PRODUCTION, INSPECTION, AND
16                                                         COPYING OF DOCUMENTS AND
                     Defendants.                           TANGIBLE THINGS, SET NO. ONE
17
18
19                 ___________ )
20   PROPOUNDING PARTY                     Defendant DELBERT HOLLAND
21   RESPONDING PARTY                      Plaintiff MOHAMMAD SADEGH NAMAZIKHAH
22   SET NO.                               ONE
23          PURSUANT TO C.C.P. §2031.050, Plaintiff MOHAMMAD SADEGH NAMAZIKHAH
24   hereby responds to Supplemental Demand for Production, Inspection, and Copying of Documents and
25   Tangible Things, Set No. One, propounded by Defendant DELBERT HOLLAND as follows:
26                                      PRELIMINARY STATEMENT
27          These responses are made solely for the purpose of this action. Each response is subject to all
28   appropriate objections which would require the exclusion of any evidence contained herein if the

                                              1
           PLAINTIFF'S RESPONSE TO SUPPLEMENTAL DEMAND FOR PRODUCTION, SET NO. ONE


                                                                                           Ex 3- 53
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 1 material were offered at the time of trial. All objections and grounds are reserved and may be
 2 interposed at the time of trial.
 3            The responding party has not yet completed investigation of the facts relating to this action,
 4   discovery in this action, or preparation for trial of this action. Consequently, these responses are
 5   given without prejudice to the right of the responding party to produce at the time of trial any and all
 6   subsequently discovered evidence relating to the proof of presently known material facts, and to
 7   produce all evidence, whenever discovered, relating to the proof of subsequently discovered material
 8   facts.
 9            Lastly, the objection is made to each and every interrogatory that the information sought
10   invades the attorney-client and attorney-work product privileges. Without waiving this objection, the
11 responding party hereby responds as follows:
12   RESPONSE TO SUPPLEMENTAL DEMAND NO. 1:
13            All answers remain the same.
14
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                                                          2
              PLAINTIFF'S RESPONSE TO SUPPLEMENTAL DEMAND FOR PRODUCTION, SET NO. ONE


                                                                                               Ex 3- 54
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                          EXHIBIT 4

                                                                       Ex 4- 55
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                                                                       Ex 4- 56
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                          EXHIBIT 5

                                                                       Ex 5- 57
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                                                                       Ex 5- 58
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                          EXHIBIT 6

                                                                      Ex 6- 59
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                                                                      Ex 6- 60
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                          EXHIBIT 7

                                                                           Ex 7- 61
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                                                                           Ex 7- 62
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                                                                           Ex 7- 63
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                                                                           Ex 7- 64
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                          EXHIBIT 8

                                                                      Ex 8- 65
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                                                                      Ex 8- 66
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                                                                      Ex 8- 67
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                                                                      Ex 8- 68
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                                                                      Ex 8- 69
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                          EXHIBIT 9

                                                                     Ex 9- 70
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                                                                     Ex 9- 71
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                         EXHIBIT 10

                                                                      Ex 10- 72
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                                                                      Ex 10- 73
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                                                                      Ex 10- 74
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                         EXHIBIT 11

                                                                     Ex 11- 75
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                                                                     Ex 11- 76
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                         EXHIBIT 12

                                                                    Ex 12- 77
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                                                                    Ex 12- 78
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                         EXHIBIT 13

                                                                    Ex 13- 79
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                                                                    Ex 13- 80
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                                                                    Ex 13- 81
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                         EXHIBIT 14

                                                                    Ex 14- 82
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                                                                    Ex 14- 83
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                                                                    Ex 14- 84
        Case 1:15-bk-13134-MB                    Doc 551 Filed 12/10/21 Entered 12/10/21 14:45:29                                       Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

17609 Ventura Blvd., Suite 314, Encino, CA 91316.

A true and correct copy of the foregoing document entitled (specify): FIRST AND FINAL APPLICATION
BY ROBERT HINDIN & ASSOCIATES, APLC, A PERSONAL INJURY LAW FIRM, FOR ALLOWANCE OF FEES AND
REIMBURSEMENT OF COSTS FOR LITIGATING DEBTOR’S PERSONAL INJURY CLAIMS; DECLARATIONS OF
ROBERT HINDIN AND MOHAMMAD S. NAMAZIKHAH IN SUPPORT THEREOF will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
12/9/2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 12/9/2021, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 12/9/2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 12/9/2021                                Daniel Lavian                                         /s/ Daniel Lavian
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):


   •   Eric V Anderton eanderton@catanzarite.com, bphillips@catanzarite.com
   •   Raymond H. Aver ray@averlaw.com,
       averlawfirm@gmail.com;ani@averlaw.com;katya@averlaw.com
   •   Sumit Bode sumit.bode@americaninfosource.com
   •   Russell Clementson russell.clementson@usdoj.gov
   •   Theron S Covey theronscovey@hotmail.com, sferry@raslg.com
   •   Dane W Exnowski dane.exnowski@mccalla.com,
       bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
   •   Sean C Ferry sferry@raslg.com, sferry@ecf.courtdrive.com
   •   M. Jonathan Hayes jhayes@rhmfirm.com,
       roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;ru
       ss@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario
       @rhmfirm.com
   •   Frances M O'Meara fomeara@fmglaw.com,
       mhirota@fmglaw.com;nsands@fmglaw.com;cvillareal@fmglaw.com
   •   Veronica A Pacheco BDBKInquiry@wellsfargo.com, BDBKInquiry@wellsfargo.com
   •   Sheila M Pistone sheila@pistonelawoffice.com, sheilapistone@yahoo.com
   •   David Seror (TR) aquijano@bg.law, C133@ecfcbis.com;mgalvan@bg.law
   •   Najah J Shariff najah.shariff@usdoj.gov, USACAC.criminal@usdoj.gov
   •   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
   •   Diane Weifenbach diane@attylsi.com, bankruptcy1@attylsi.com
   •   Nancy H Zamora zamora3@aol.com




2. SERVED BY UNITED STATES MAIL:


 Label Matrix for local noticing
 0973-1                                           San Fernando Valley Division
 Case 1:15-bk-13134-MB                            21041 Burbank Blvd,
 Central District of California San Fernando      Woodland Hills, CA 91367-6606
 Valley
 Thu Dec 9 17:48:04 PST 2021
 U.S. Bank National Association as Legal
 Titl                                             Business Card
 3000 Kellway Dr. Ste 150                         P.O. Box 15796
 Carrollton, TX 75006-3357                        Wilmington, DE 19886-5796



WELLS FARGO BANK, N.A.                           FRANCHISE TAX BOARD
P.O. Box 29482                                   BANKRUPTCY UNIT
Phoenix, AZ 85038-9482                           PO BOX 2952
                                                 SACRAMENTO CA 95812-2952
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                                               700 KANSAS LANE FLOOR 01
 (p)INTERNAL REVENUE SERVICE                   MONROE LA 71203-4774
 CENTRALIZED INSOLVENCY
 OPERATIONS
 PO BOX 7346                                  GHORBANIAN DDS INC
 PHILADELPHIA PA 19101-7346                   C/O MOHAMMAS ALI TALAIE ESQ
                                              800 WEST 6TH STREET STE 1200
                                               LOS ANGELES CA 90017-2715
LOS ANGELES CITY ATTORNEY’S OFFICE
ATTN WENDY LOO
200 N MAIN ST STE 920                          Kosmas Pappas, D.D.S.
LOS ANGELES CA 90012-4128                      10106 Adams Avenue
                                               Huntington Beach, CA 92646-4907

 (p)US BANK
 PO BOX 5229
 CINCINNATI OH 45201-5229                     Law Offices of Raymond H. Aver
                                              A Professional Corporation
                                              10801 National Boulevard, Suite 100
 United Airlines, Inc.                        Los Angeles, California 90064-4140
 900 Grand Plaza Drive NHCCR
 Houston, TX 77067-4323
                                               U.S. Bank, N.A.
                                               425 Walnut Street
 A-B Dental Center, Inc.                       Cincinnati, OH 45202-3930
 c/o Catanzarite Law Corporation
 2331 West Lincoln Avenue Anaheim, CA
 92801-5103                                    WELLS FARGO BANK NA
                                               CUSTOMER SERVICE
                                               POB 348750
                                               SACRAMENTO CA 95834-8750

UNITED STATES OF AMERICA on behalf of the
IN                                             U.S. BANK NATIONAL
300 N. Los Angeles Street, Room 7211           ASSOCIATION
Attn: Najah Shariff                            14841 Dallas Parkway, Suite
Los Angeles, CA 90012-3342                     300
                                               Dallas, TX 75254-7883

Wells Fargo Bank, N.A.
SBL
P.O. Box 29482 Phoenix, AZ 85038-9482         United States Trustee (SV)
                                              915 Wilshire Blvd, Suite 1850
Bank of America                               Los Angeles, CA 90017-3560
P.O. Box 15019
Wilmington, DE 19850-5019
                                               Zamora & Hoffmeier
 (p)JPMORGAN CHASE BANK N A                    633 W 5th Ste 2600
 BANKRUPTCY MAIL INTAKE TEAM                   Los Angeles, CA 90071-2053
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(p)BANK OF AMERICA                                    U.S. Bank, National Association
PO BOX 982238                                         3121 Michelson Drive, Suite 500
EL PASO TX 79998-2238                                 Irvine, CA 92612-7673
                                                      Wells Fargo Bank, N.A.
FRANCHISE TAX BOARD                                   Business Direct Division
BANKRUPTCY SECTION MS A340                            P.O. Box 29482
PO BOX 2952
SACRAMENTO CA 95812-2952
                                                       David Seror (TR)
                                                       21650 Oxnard Street, Suite 500
 INTERNAL REVENUE SERVICE                              Woodland Hills, CA 91367-4911
 PO BOX 7346
 PHILADELPHIA PA 19101-7346
                                                       SACRAMENTO CA 95834-8750
                                                      Kosmas Pappas
                                                      c/o Catanzarite Law Corporation
Kosmas Pappas, D.D.S.                                 2331 West Lincoln Avenue Anaheim, CA 92801-
C/O Catanzarite Law Corporation                       5103
2331 West Lincoln Avenue Anaheim,
CA 92801-5103
                                                       Mohammad Sadegh Namazikhah
                                                       16661 Ventura Boulevard, Suite 606
                                                       Encino, CA 91436-1982
 Old Republic Default Management Ser
 P.O. Box 250
 Orange, CA 92856-6250


The preferred mailing address (p) above has been substituted for the following entity/entities as
so specified by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and
Fed.R.Bank.P. 2002 (g)(4)

Bank of America                                       U.S. Bank Home Mortgage
P.O. Box 982235                                       A Division of US Bank NA
El Paso, TX 79998-2235                                4801 Frederica St
                                                      Owensboro, KY 42301
(d)Bank of America
P.O. Box 982238
El Paso, TX 79998-2238

Chase
P.O. Box 24696
Columbus, OH 43224

Internal Revenue Service
300 North Los Angeles Street, M/S 5022 c/o
Los Angeles, CA 90012


U.S. Bank National Association
